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                       UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


In re:                                          Case No. 21-51802

John Eric Orem Jr.                              Chapter 7
Seerina Louise Orem

                     Debtors                    Judge C. Kathryn Preston


David M. Whittaker Trustee
Two Miranova Place, Suite 700
Columbus, OH 43215

                     Plaintiff                  Adv. Pro, No. ________________

         vs.                              :

John Orem Sr
99 Canterbury Ct.
London OH 43140

         And

Linda Orem
99 Canterbury Ct.
London OH 43140

                     Defendants           :


COMPLAINT 1) FOR THE AVOIDANCE AND RECOVERY OF THE POST-PETITION
 TRANSFER OF REAL PROPERTY BY JOHN ERIC OREM JR. & SEERINA OREM
  TO JOHN OREM SR. & LINDA OREM, 2) FOR A MONEY JUDGMENT AGAINST
 JOHN OREM SR. & LINDA OREM, JOINTLY AND SEVERALLY, FOR DAMAGES,
   COSTS, AND ATTORNEY FEES FOR THEIR WILLFULL VIOLATION OF THE
AUTOMATIC STAY, AND 3) FOR PUNITIVE DAMAGES AGAINST JOHN OREM SR.
 & LINDA OREM, JOINTLY AND SEVERALLY, FOR THEIR WILLFULL VIOLATION
                       OF THE AUTOMATIC STAY
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       David M. Whittaker Trustee (“Trustee”), the Plaintiff in this adversary proceeding

(“Adversary Proceeding”) files this complaint (“Complaint”) against John Orem Sr. and

Linda Orem 1) for the avoidance and recovery of the post-petition transfer of real property

by John Orem Jr. and Seerina Orem (“Debtors”) to John Orem Sr. and Linda Orem, 2) for

a money judgment against John Orem Sr and Linda Orem, jointly and severally, for

damages, costs, and attorney fees, for their willful violation of the automatic stay

provisions of 11 USC § 362, and 3) for punitive damages against John Orem Sr. and

Linda Orem, jointly and severally, for their willful violation of the automatic stay provisions

of 11 USC § 362

       In support of the Complaint, the Trustee alleges as follows:

I.     JURISDICTION AND VENUE

              1.      This Court has jurisdiction over this Adversary Proceeding and over

       the Chapter 7 case of the Debtors (“Debtors’ Case”) pursuant to 11 U.S.C. § 157

       and 11 USC § 1334 and pursuant to the Order of Reference entered by the U.S.

       District Court in this District.

               2.             This Adversary Proceeding is a core proceeding pursuant to

       the provisions of 28 USC § 157(b)(1) and (b) (2)(A), and (O). This Court may enter

       a final order in this Adversary Proceeding pursuant to these code sections and

       Article III of the United States Constitution.

              3.      In accordance with Federal Rule of Bankruptcy Procedure 7008, the

       Trustee consents to the entry of final orders or judgments in this Adversary

       Proceeding if it is determined that this Court cannot enter final orders or judgments

       consistent with Article III of the United States Constitution.
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                4.       Venue of this Adversary Proceeding and of the Debtors’ Case is

         proper pursuant to the provisions of 28 USC § 1409.

                5.       The statutory bases for this Adversary Proceeding are 11 USC §§

         362, 544, 549, 550, and 551.

II.      THE PARTIES AND GENERAL BACKGROUND

                6.       The Trustee restates and reaffirms all prior paragraphs as if fully

            rewritten.

                 7.      The Debtors’ Case was filed on May 22, 2021 of record as Case No.

         21-51802. The Trustee was appointed in the Debtor’s Case by the Office of the

         U.S. Trustee pursuant to the provisions of 11 U.S.C. § 701.

                8.       The Trustee is authorized to file this Adversary Proceeding pursuant

         to the provisions of 11 U.S.C. § 704.

                9.       John Orem Sr. and Linda Orem are the parents of John Orem Jr. and

         are the parents in law of Seerina Orem. John Orem Sr. and Linda Orem are

         insiders of the Debtors pursuant to the provisions of 11 USC § 101(31)(A)(i).

                10.      On the date of the filing of the Debtors’ Case the Debtors were the

      owners of real property known as 7922 Third St. Orient OH 43146 (“Real Property”). A

      copy of the deed by which the Debtors acquired the Real Property is attached as Exhibit

      A and is incorporated by reference. The legal description for the Real Property is

      contained in Exhibit A and is also specifically incorporated by reference.

                11.      The Real Property is property of the bankruptcy estate in the Debtors’

      Case pursuant to the provisions of 11 USC § 541. The Real Property has not been

      abandoned by the Trustee pursuant to 11 USC § 554.
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              12.    The meeting of creditors in the Debtors’ Case was held on July 15,

   2021.

              13.    Subsequent to the July 15, 2021 meeting of creditors the Trustee

   received a telephone call from a title company regarding the Real Property. During this

   telephone call the Trustee learned that the Debtors executed a contract (“Real Estate

   Contract”) on June 13, 2021 for the sale of the Real Property to John Orem Sr. and

   Linda Orem for a purchase price of $120,000. The Trustee also learned that on July 8,

   2021 the Debtors executed an addendum (“Addendum”) to the Real Estate Contract

   reducing the purchase price to $109,500 and agreeing to pay $3200 in closing costs.

   Copies of the Real Estate Contract and Addendum are attached collectively as Exhibit

   B and are incorporated by reference. John Orem Sr. and Linda Orem also signed the

   Real Estate Contract and the Addendum and they signed these documents after the

   filing of the Debtors’ Case. John Orem Sr. and Linda Orem had actual knowledge of the

   Debtors’ Case because, among other things, the mailing address used by John Orem

   Jr. for the Debtors’ Case was the address of John Orem Sr. and Linda Orem. The

   purpose of the signing of the Addendum was to reduce the purchase price for the benefit

   of John Orem Sr and Linda Orem and to ensure that there would not be any net

   proceeds from the sale of the Real Property. The Debtors did not disclose the existence

   of the Real Estate Contract during the meeting of creditors or thereafter and the Trustee

   only learned of the existence of the Real Estate Contract and the Addendum due to the

   call with the title company.

              14.    The Trustee also learned during the call with the title company that on

   July 17, 2021 the Debtors executed a deed (“Post-Petition Deed”) conveying the Real
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       Property to John Orem Sr. and Linda Orem. A copy of the Post-Petition Deed is

       attached as Exhibit C and is incorporated by reference. The Post-Petition Deed was

       executed two days after the meeting of creditors was held in the Debtors’ Case. The

       Debtors also executed other closing documents (“Closing Documents”) on July 17,

       2021 regarding the transfer of the Real Property to John Orem Sr. and Linda Orem.

       Copies of the Closing Documents that have been obtained by the Trustee are attached

       collectively as Exhibit D and are incorporated by reference. Although as of the date of

       the filing of this Complaint the Post-Petition Deed does not appear to have been

       recorded with the Pickaway County Recorder’s Office, the execution of the Post-Petition

       Deed was in itself a transfer of the Debtors’ interests in the Real Property to John Orem

       Sr. and Linda Orem and the recording of the Post-Petition Deed could occur at any time.


III.      COUNT 1 - AVOIDANCE OF THE POST PETITION TRANSFER OF REAL
          PROPERTY BY THE DEBTORS TO JOHN OREM SR. & LINDA OREM
          PURSUANT TO 11 USC § 549 (a)(1)

                 15..   The Trustee restates and reaffirms all prior paragraphs as if fully

          rewritten.

                 16.    11 USC § 549(a) provides in relevant part as follows:

                 (a) Except as provided in subsection (b) or (c) of this section, the trustee
                 may avoid a transfer of property of the estate—
                 (1) that occurs after the commencement of the case; and
                 (2)
                 (A) that is authorized only under section 303(f) or 542(c) of this title; or
                 (B) that is not authorized under this title or by the court.


                 17.    The execution of the Post-Petition Deed by the Debtors was a

          transfer of their interests in the Real Property to John Orem Sr. & Linda Orem even

          if the Post-Petition Deed has not been recorded at the Pickaway County Recorders
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      Office. The Debtors executed to the Post-Petition Deed on July 17, 2021, which

      was after the Debtors filed the Debtor’s Case.

             18.     The Debtors’ interests in the Real Property were property of the

      Debtors’ bankruptcy estate pursuant to the provisions of 11 USC § 541.

             19.     The transfer of the Debtors’ interests in the Real Property to John

      Orem Sr. & Linda Orem was not authorized by the provisions of 11 USC § 303(f)

      or 11 USC § 542(c).

             20.     The transfer of the Debtors’ interests in the Real Property to John

      Orem Sr. & Linda Orem was not authorized by any provision of the Bankruptcy

      Code or by an order of the Bankruptcy Court in the Debtor’s Case.

             21.     The Trustee is entitled to the entry of an order pursuant to the

      provisions of 11 USC § 549(a)(1) avoiding the transfer of the Debtors’ interests in

      the Real Property to John Orem Sr. & Linda Orem.

IV.  COUNT 2 – RECOVERY OF THE AVOIDED TRANSFER OF REAL PROPERTY
AND PRESERVATION OF AVOIDED TRANSFER OF REAL PROPERTY FOR THE
BENEFIT OF THE BANKRUPTCY ESTATE

             22.     The Trustee restates and reaffirms all prior paragraphs as if fully

      rewritten.

             23.     11 USC § 550 provides in relevant part as follows:


             (a) Except as otherwise provided in this section, to the extent that a transfer
             is avoided under sections 544, 545, 547, 548, 549, 553(b) or 724(a) of this
             title, the trustee may recover, for the benefit of the estate, the property
             transferred, or, if the court so orders, the value of such property, from—
             (1) the initial transferee of such transfer or the entity for whose benefit such
             transfer was made; or
             (2) any immediate or mediate transferee of such initial transferee.

             24.     11 USC § 551 provides as follows:
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             Any transfer avoided under section 522, 544, 545, 547, 548, 549,
             or 724(a) of this title, or any lien void under section 506(d) of this title, is
             preserved for the benefit of the estate but only with respect to property of
             the estate.


             25.     John Orem Sr. & Linda Orem are the initial transferees of the

      Debtors’ interests in the Real Property or are immediate or mediate transferees of

      the Debtors’ interests in the Real Property.

             26.     The Trustee is entitled to the entry of an Order pursuant to 11 USC

      § 550 recovering the Real Property for the benefit of the bankruptcy estate in the

      Debtor’s Case. The Trustee is also entitled to an Order pursuant to the provisions

      of 11 USC § 551 preserving the avoided and recovered transfer of the Debtors’

      interests in the Real Property to John Orem Sr. & Linda Orem for the benefit of the

      bankruptcy estate in the Debtors’ Case.


V.   COUNT 3 – MONEY JUDGMENT AGAINST JOHN OREM SR. AND LINDA
OREM, JOINTLY AND SEVERALLY FOR DAMAGES, COSTS, ATTORNEY FEES,
AND PUNITIVE DAMAGES FOR THEIR WILLFULL VIOLATION OF THE AUTOMATIC
STAY


             27..    The Trustee restates and reaffirms all prior paragraphs as if fully

      rewritten.

             28.     11 USC § 362(a) provides as in relevant part as follows:

              (a)Except as provided in subsection (b) of this section, a petition filed
             under section 301, 302, or 303 of this title, or an application filed under
             section 5(a)(3) of the Securities Investor Protection Act of 1970, operates
             as a stay, applicable to all entities, of—…
             (3) any act to obtain possession of property of the estate or of property
             from the estate or to exercise control over property of the estate;…

             29.     11 USC § 362(c)(1) provides as follows:
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             (c) Except as provided in subsections (d), (e), (f), and (h) of this section—
             (1) the stay of an act against property of the estate under subsection (a) of
             this section continues until such property is no longer property of the
             estate;

             30.     11 USC § 362(k)(1) provides as follows:

             (k)
             (1) Except as provided in paragraph (2), an individual injured by any willful
             violation of a stay provided by this section shall recover actual damages,
             including costs and attorneys’ fees, and, in appropriate circumstances,
             may recover punitive damages.

             31.     The execution of the Real Estate Contract and the Addendum by

      John Orem Sr. and Linda Orem were acts by the Debtors and John Orem Sr. and

      Linda Orem collectively and in cooperation and conspiracy with one another for

      John Orem Sr. and Linda Orem to obtain possession of property of the estate or

      of property from the estate or to exercise control over property of the estate. These

      acts violated the automatic stay provisions of 11 USC § 362(a) and 11 USC §

      362(c).


             32.     The execution of the Post-Petition Deed by the Debtors transferring

      the Real Property to John Orem Sr. and Linda Orem was an act by the Debtors

      and John Orem Sr. and Linda Orem collectively and in cooperation and conspiracy

      with one another for John Orem Sr. and Linda Orem to obtain possession of

      property of the estate or of property from the estate or to exercise control over

      property of the estate. These acts violated the automatic stay provisions of 11 USC

      § 362(a) and 11 USC § 362(c).


             33.     The execution of the Closing Documents by the Debtors was in

      conjunction with the transfer of the Real Property by the Debtors to John Orem Sr.
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      and Linda Orem and was an act by the Debtors and John Orem Sr. and Linda

      Orem collectively and in cooperation and conspiracy with one another for John

      Orem Sr. and Linda Orem to obtain possession of property of the estate or of

      property from the estate or to exercise control over property of the estate. These

      acts violated the automatic stay provisions of 11 USC § 362(a) and 11 USC §

      362(c).


            34.      John Orem Sr. and Linda Orem had actual knowledge of the Debtors’

      Case at the time the execution of the Real Estate Contract, the Addendum, the

      Post-Petition Deed and the Closing Documents because, among other things, the

      mailing address used by John Orem Jr. for the Debtors’ Case was the address of

      John Orem Sr. and Linda Orem. The actions of the Debtors and John Orem Sr.

      and Linda Orem regarding the execution of the Real Estate Contract, the

      Addendum, the Post-Petition Deed and the Closing Documents were made

      collectively and in cooperation and conspiracy by the Debtors and John Orem Sr.

      and Linda Orem and were willful violations of the automatic stay provisions of 11

      USC § 362(a) and (c).


            35.      The Trustee is an individual for purposes of 11 USC § 362(k) and

      has standing and is entitled to obtain a judgment against John Orem Sr. and Linda

      Orem, jointly and severally, for the actual costs and damages of the Trustee and

      the bankruptcy estate, including attorney fees, occurring as a result of the willful

      violations of the automatic stay by the Debtors and John Orem Sr. and Linda Orem

      acting collectively and in cooperation and conspiracy with each other. The Trustee
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      further has standing and is entitled to an order of the Court granting punitive

      damages against John Orem Sr .and Linda Orem jointly and severally. The Trustee

      is further entitled to an order that the money judgment against John Orem Sr. and

      Linda Orem shall bear interest at the federal judgment rate from the date of the

      judgment until the date that the judgment has been fully paid.


     VI. COUNT 4 - JUDGMENT AGAINST JOHN OREM SR. AND LINDA OREM
FOR THE COSTS OF THIS ADVERSARY PROCEEDING

             36.     The Trustee restates and reaffirms all prior paragraphs as if fully

      rewritten.

             37.     The Trustee is entitled to a money judgment against John Orem Sr.

      and Linda Orem, jointly and severally, for the court costs associated with the filing

      of this Adversary Proceeding.

      WHEREFORE, the Trustee demands judgment against John Orem Sr. and Linda

Orem as follows:

               A. Pursuant to Count 1, a judgment against John Orem Sr. and Linda

                   Orem, jointly and severally, for the avoidance of the transfer of the

                   Debtors’ interests in the Real, and

               B. Pursuant to Count 2 a judgment against John Orem Sr. and Linda

                   Orem, jointly and severally, recovering the Debtors’ interests in the

                   Real Property for the benefit of the bankruptcy estate in the Debtors’

                   Case and preserving the avoided transfer of the Debtors’ interests in

                   the Real Property for the benefit of the bankruptcy estate in the

                   Debtors’ Case, and
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             C. Pursuant to Count 3 a money judgment against John Orem Sr. and

                Linda Orem, jointly and severally, for the actual costs and damages of

                the Trustee and the bankruptcy estate, including attorney fees,

                occurring as a result of the willful violations of the automatic stay by

                the Debtors and John Orem Sr. and Linda Orem collectively and in

                cooperation and conspiracy with each other, and

             D. Pursuant to Count 3 an Order of the Court granting the Trustee punitive

                damages against John Orem Sr .and Linda Orem jointly and severally,

                and

             E. Pursuant to Count 3 an Order that the money judgment against John

                Orem Sr. and Linda Orem shall bear interest at the federal judgment

                rate from the date of the judgment until the date that the judgment has

                been fully paid, and

             F. Pursuant to Count 4 a judgment against John Orem Sr. and Linda

                Orem for the court costs associated with the filing of this Adversary

                Proceeding, and

             G. For such other relief as may be appropriate or necessary to implement

                any relief specifically requested by the Trustee.
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                                             Respectfully submitted,


                                             /s/ David M. Whittaker
                                             David M. Whittaker, Esq.     (0019307)
                                             Isaac Wiles & Burkholder LLC
                                             Two Miranova Place, Suite 700
                                             Columbus, OH 43215
                                             PH: (614) 340-7431
                                             FAX: (614) 365-9516
                                             Email: dwhittaker@isaacwiles.com
                                             Attorney for David M. Whittaker, Trustee
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          - PICKAWAY COUNTY ENGINEER
                                                                                                   201100002006
          L"                                                                                       Filed for Record   in
                                                                                                   PICKAWAY COUNTY, OHIO
                                                                                                   JOYCE R. GIFFORD, COUNTY RECORDER
                                                                                                   04-22-2011 At 12:50 pm.

                                         TRANSFERRED NO. Z7/?
                                         SEC. 31 9.202 R.C. COMPLIED <2 O /   ~rf\
                                                                                                   DEED
                                                                                                   OR Volume
                                                                                                                      36.00
                                                                                                                  652 Pose 994 -   996
                                         WITHIN AMT                  9Z4?, /O
                                                   APR 2 2 2011
                                         MELISSA A. BETZ
                                         AUDITORPL0KAWAY COUNTY,
                                              [Ytf"' TRANS FEE_


                                                  GENERAL WARRANTY DEED
                                                          (SURVIVORSHIP)

                Tammy S. Brown, an unmarried woman (Grantor), for valuable
                                                                           consideration paid, grant(s)
                with general warranty covenants, to

                John E. Orem, Jr. and Seerina L. Orem, husband and wife,
                                                                         for their joint lives, remainder to
                the survivor of them, (Grantees), whose tax mailing address
                                                                              is: c/o First American Real Estate
                Tax Service, Inc., Attn: Escrow Reporting, Mail code DFW 4-3,
                                                                               1 First American Way, Westlake,
                TX 76262.


               the following real property:

               Situated in the County of Pickaway, Village of Orient, and State
                                                                                of Ohio:

               Being a tract of land off of the North side of Lot No. Twenty-Fi
                                                                                ve (25) in the Village of
               Morgan (now called Orient). Said tract of land fronting fifty
                                                                             (50) feet on Main Street and
               running back to a public alley two hundred and sixty-four (264)
                                                                                 feet.


               Subject to easements, restrictions, conditions of record, real estate
                                                                                     taxes and assessments, if
               any, and zoning laws and legal highways.



               And also subject to the following described restrictive covenant:


               Grantees, also referred to as Borrower(s), their successors,
                                                                                   heirs and assigns for and in
               consideration of receiving direct subsidy funds from the
                                                                                 Federal Home Loan Bank of
               Cincinnati’s Affordable Housing Program, must maintain ownership
                                                                                        in this property for a period
               of five (5) years (Retention Period) from the date of the recording
                                                                                    of this deed.

                      (i) The Federal Home Loan Bank of Cincinnati, whose mailing address
                                                                                                is P.O. Box 598;
               Cincinnati, OH 45201-0598, is to be given notice of any sale, refinancing
                                                                                         , foreclosure,
               conveyance by deed in lieu of foreclosure, or change in ownership
                                                                                   of the unit occurring
               prior to the end of the Retention Period.                             -j-o •.
                                                                         James A. Saad LLC
                                                                        Star Title Agency LLC
                                                                     229 Huber Village Blvd. #130
                                                                       Westerville, OH 43081




                                                                                               /
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             General Warranty Deed
             Tammy S. Brown to
             John E. Orem, Jr. and
             Seerina L. Orem
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                   (ii) In the case of a sale or refinancing prior to the end
                                                                               of the Retention Period, an
             amount equal to a pro rata share of the AHP Subsidy
                                                                      that financed the purchase, construction,
             or rehabilitation of the unit, reduced for every year the seller
                                                                              owned the unit, shall be repaid
             to The Federal Home Loan Bank of Cincinnati from any
                                                                  net gain realized upon the sale
             or refinancing of the unit; unless:


                            (A) The unit was assisted with a permanent mortgage
                                                                                loan funded by an AHP
                             advance;

                            (B) The purchaser is a very low- or low- or moderate
                                                                                 -income household as
                            defined in the applicable Federal Housing Finance Agency
                                                                                     regulations for the
                            AHP (in which case the retention period ends with the
                                                                                  conveyance to such
                            purchaser); or


                            (C) Following a refinancing, the unit continues to be
                                                                                     subject to a deed restriction
                            or other legally enforceable retention agreement or mechanis
                                                                                               m, incorporating
                            the requirements of clauses (i), (ii), and (iii) contained
                                                                                       herein.

                  (iii) The obligation to repay Subsidy to the Bank shall
                                                                          terminate after any foreclosure or
            conveyance by deed in lieu of foreclosure or any assignme
                                                                       nt of the first mortgage to the
            Secretary of HUD.



            Parcel Number:         L29-0 -002-00-009-00



            Property Address:      7922 Third Street, Orient, Ohio 43146



            Prior Instrument Reference:       Official Record Volume 622, page 118, Pickawa
                                                                                            y County,
            records.
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             General Warranty Deed
             Tammy S. Brown to
             John E. Orem, Jr. and
             Seerina L. Orem
             Page 3



             Executed on this ol I       day of                                  , 2011.




                                                                 Tammy S.        >wn




             State of Ohio, County of                                 ss:


            BE IT REMEMBERED, that on this <£/                    day of
                                                                            4-
            the subscriber, a notary public in and for said state, 'personally came Tammy S.
                                                                                            201 1 , before me.

            Brown, the foregoing deed, and acknowledged the signing thereof
                                                                            to be her
            voluntary act and deed.

            IN TESTIMONY THEREOF, I have hereunto subscribed my name and affixed
                                                                                 my notary
            seal on the day and year last aforesaid.



                                       Veronica Lanning
                                  Notary Public, Stats of Ohio


                '9$            My Commission Expires 0504-2015
                                                                      7 - (/J '
                                                                 Notary Public                      O
                   (Seal)                                        My Commission Expires:            5~




            This instrument prepared by: James A. Saad, Attorney At Law,
                                                                         229 Huber Village Blvd., Suite 130,
            Westerville, Ohio 43081 . (614) 396-3296




                                                                                  201100002006
                                                                                  JAMES A SAAD LLC
                                                                                  STAR TITLE AGENCY LLC
                                                                                  22? HUBER VILLAGE BLVD S130
                                                                                  WESTERVILLE OH 43081
dotloop signature verification:
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         Premise Address:                                                                                                                                                                              1 of 14
                                                                                          7922 3rd Street, Orient, OH 43146



                    <B                              REAL ESTATE PURCHASE CONTRACT
                                                    It is recommended that all parties be represented
                                                                                                      by a REALTOR® and an Attorney
    COLDWELLJ3ANKER
                REALTY
                                                                                                                                  Date:                    06/13/2021


        Upon the following terms, the undersigned Buyer
                                                          agrees to buy, and the undersigned Seller agrees
                                                                                                              to sell, through
        the Broker referred to below, the premises, describ
                                                            ed as being located in the State of Ohio, County
                                                                                                             of
           Pickaway County     Tax parcel no(s)              L27-0-100-02-009-00             and further described as:
                                                                                   7922 3rd Street, Orient, OH 43146


        1.     Purchase price shall be $                                                    120,000                                          One Hundred Twenty Thousand Dollars




              1.1 Additional Terms and Conditions:




       2. Attorney Approval Clause
       The Buyer or Seller may terminate this contract
                                                          if the party’s attorney disapproves this contract,
                                                                                                              by providing written
       notice of said disapproval, along with changes
                                                         proposed by that party’s attorney to remedy the
                                                                                                               disapproval, within
                 calendar days after acceptance hereof, (this
                                                                  provision is not applicable if number of days
                                                                                                                 is not inserted). If
      the other party accepts the proposed changes
                                                          in writing within three (3) calendar days after
                                                                                                             delivery thereof, this
      contract shall continue in full force and effect, as
                                                            amended by the changes. The party requesting
                                                                                                                 the changes may
      waive the request in writing prior to the expiration
                                                             of the three (3) calendar-days period. If the contra
                                                                                                                   ct is terminated,
      the earnest money deposit shall be returned to
                                                        the Buyer pursuant to paragraph 12.

      3. Financing: (Buyer shall select and initial one
                                                        of the following)


             3.1              Buyer will pay the purchase price in cash at closing
                                                                                     . Paragraph 3.2 does not apply to this contrac
                                                                                                                                         t.
              Buyer shall deliver to the Seller or Seller’s Broker
                                                                   , within         calendar days (if left blank, number of calend
                                                                                                                                        ar
             days shall be 5) after the date of acceptance of
                                                               this contract, one of the following: a letter from
                                                                                                                  a financial institution,
             current bank statement, or other evidence reason
                                                                    ably satisfactory to Seller that sufficient funds are
                                                                                                                            available to
             complete this transaction. If the Buyer does not
                                                                  deliver such evidence within the stated time period,
                                                                                                                             Seller may
             terminate this contract pursuant to paragraph 3.3
                                                                    OR

             3.2 o^i 106/1 3/21 This contract is contingent upon Buyer obtaining financing for the purcha
             todprwi8i©n&r®et forth in this paragraph 3.2.
                                                                                                                                                                se of the property, subject

                   3.2(a) Lender Pre-Qualification:
                   Buyer |             1 0^21 [(insert initials here) has delivered OR f
                                                                                                                              T          ] (insert initials here) shall deliver within
                           >®aF®ndaMays (if left blank, the number calend
                                                                              ar days shall be 2) after date of acceptance, to
                                                                                                                               Seller
                   or Seller’s Broker a lender’s pre-qualification
                                                                   letter stating that the Buyer’s credit report has
                                                                                                                     been reviewed,
                   and that Buyer is prequalified to obtain a loan sufficie
                                                                            nt to finance the purchase of the property. If the
                                                                                                                               Buyer
                   does not deliver the pre-qualification letter within
                                                                        the stated time period, Seller may terminate this
                                                                                                                             contract
                   pursuant to paragraph 3.3.



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    contractor sales associates and are not employees                                              Banker Real Estate LLC. Real estate agents affiliated with
                                                      of Coldwell Banker Realty.                                                                              Coldwell Banker Realty are independent
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                      3.2(b) Loan Application:
                      (i) Within          calendar days, (if left blank, the number of calendar days
                                              3
                                                                                                     shall be 7) after the date of
                      acceptance of this contract, Buyer shall:
                                  a) make formal application for a (write in type of loan: Conven
                                                                                                  tional, FHA, VA, USDA)
                                                  Conventional                 loan,
                                  b) inform the Seller or Seller’s Broker in writing of the identity
                                                                                                      of the lender, and
                                  c) notify the lender of the Buyer’s intent to proceed pursuan
                                                                                                   t to applicable federal regulations.

                     If the Buyer does not inform the Seller or Seller’s Broker
                                                                                in writing of the identity of the lender within the stated
                     time period, Seller may terminate this contract pursuan
                                                                              t to paragraph 3.3.


                      (ii) The Buyer shall provide information and documentation,
                                                                                      and otherwise comply with all reasonable requests
                      made by the lender and title insurance agent during the
                                                                                    mortgage loan application and approval process. If,
                     at any time, the lender notifies the Buyer in writing that
                                                                                 it will not be able to provide financing upon the terms
                     and conditions stated in the loan application, the Buyer
                                                                                may terminate this contract by delivering a copy of the
                     lender’s written notification to the Seller or Seller’s Broker
                                                                                       within 3 calendar days following Buyer’s receipt
                     thereof. Upon delivery, the earnest money deposit shall
                                                                                   be returned to the Buyer pursuant to paragraph 12.
                     Failure of the Buyer to deliver the lender’s written
                                                                             notification within 3 calendar days following Buyer’s
                     receipt thereof constitutes a waiver of Buyer’s right
                                                                                to terminate the contract due to the Buyer’s failure
                     to obtain financing.


                     3.2(c) Loan Commitment:
                    The Seller’s obligations are contingent upon the Buyer
                                                                              obtaining and delivering to the Seller or Seller’s Broker
                    a loan commitment within       25    calendar days, (this subsection 3.2(c) is not applicable
                                                                                                                    if number of days
                    not inserted), after acceptance of this contract. This
                                                                             time period shall be known as the Loan Commitment
                    Period. Buyer shall use good faith and reasonable efforts
                                                                                to obtain the loan commitment. The loan commitment
                    shall state that the lender will provide financing for
                                                                           the purchase of the property, subject to conditions
                                                                                                                                   and
                    qualifications imposed at the lender’s discretion.


                    If, at the expiration of the Loan Commitment Period, the
                                                                               Buyer has not delivered the loan commitment to
                    the Seller or Seller’s Broker, the Seller may terminate
                                                                            this contract pursuant to paragraph 3.3.

                    3.2(d) Appraisal Contingency:
                    If the property is appraised or otherwise valued for
                                                                             loan purposes for less than the purchase price stated
                    herein, the Buyer shall have the right to terminate this
                                                                             contract by written notice to the Seller or Seller’s Broker
                   delivered within 5 calendar days after Buyer receive
                                                                                s a copy of the appraisal or other documentation
                   evidencing the lender's determination of value. The
                                                                          notice shall be signed by the Buyer and accompanied
                                                                                                                                    with
                   the appraisal or other documentation evidencing the
                                                                                lender's determination of value. Upon delivery, the
                   earnest money deposit shall be returned to the Buyer
                                                                                pursuant to paragraph 12. Failure of the Buyer
                                                                                                                                      to
                   deliver the written notice of low appraised value
                                                                               within 5 calendar days following Buyer’s receipt
                   thereof constitutes a waiver of Buyer’s right to
                                                                         terminate pursuant to this provision.


            3.3 Demand for Financing Evidence:


            If Seller does not receive Buyer’s written notice or docume
                                                                         nts as required in paragraphs 3.1, 3.2(a), 3.2(b)(i), or
            3.2(c) (the “Financing Evidence”), the Seller may, at
                                                                   any time until 7 calendar days before the closing date
                                                                                                                              set
           forth in paragraph 15.1, notify the Buyer or Buyer’s
                                                                Broker in writing that Seller has not received the
                                                                                                                   required
            Financing Evidence, and specify which type of Financi
                                                                  ng Evidence is overdue (a “Demand for Financing
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               Evidence”). If Seller receives the required Financin
                                                                    g Evidence within 3 calendar days after delivery of
                                                                                                                          Seller’s
               Demand for Financing Evidence, the parties shall proceed
                                                                             with the transaction. If Seller does not receive the
               required Financing Evidence within 3 calendar days after
                                                                          delivery of the Demand for Financing Evidence, Seller
               may, at any time thereafter until the Financing Evidence
                                                                           has been received, terminate this contract by delivering
               written notice of termination to the Buyer or Buyer’s Broker,
                                                                               at which time the Earnest Money Deposit shall be
               released to the Buyer. Seller’s election to terminate pursuan
                                                                              t to this paragraph 3.3 is Seller’s sole legal remedy
               for Buyer’s failure to deliver the Financing Evidence, acts
                                                                           as a bar to any additional legal or equitable claims that
               Seller may have against the Buyer, and constitutes Seller’s
                                                                             consent to the release of the Earnest Money Deposit.
               Failure of the Seller to timely deliver the written Deman
                                                                             d for Financing Evidence constitutes a waiver of
               Seller’s right to terminate pursuant to this provisio
                                                                       n.

        4. Taxes and Assessments:


              4.1 The real estate taxes for the premises for the
                                                                     current year may change as a result of the transfe
                                                                                                                        r of the
              premises or as a result of a change in the tax rate
                                                                        and valuation. Buyer and Seller understand that
                                                                                                                            real
              estate valuations may be subject to retroactive change
                                                                            by governmental authority.
              Seller shall pay or credit at closing:
              (a) all delinquent taxes, including penalty and interest;
              (b) all assessments which are a lien on the premises as
                                                                          of the date of the contract;
              (c) all agricultural use tax recoupments for years prior to the
                                                                               year of closing;
              (d) all other unpaid real estate taxes and community develop
                                                                                ment charges imposed pursuant to Chapter 349 of
              the Ohio Revised Code which are a lien for years prior
                                                                        to closing; and (e) a portion of such taxes and community
              development charges for the year of closing shall be
                                                                        prorated through the date of closing based on a 365-day
              year. The proration shall be based upon the most recent
                                                                              available tax rates, assessments and valuations as
              reflected in the current tax duplicate certified by the County
                                                                              Treasurer. Seller and Buyer acknowledge that actual
              bills received by Buyer after closing for real estate taxes
                                                                          and assessments may differ from the amounts prorated
              at closing. In any event, all prorations agreed to by the
                                                                        parties at closing shall be final.

             These adjustments shall be final, except for the followin
                                                                       g:

             (none if nothing inserted).

             4.2 The community development charge, if any, applicab
                                                                      le to the premises was created by a covenant in an
             instrument recorded at
                                                                  (insert county), Vol..            Page number
             or Instrument number
                                                                 . (Note: If the foregoing blanks are not filled in and
             community development charge affects the premises,
                                                                                                                            a
                                                                this contract may not be enforceable by the Seller or
             upon the Buyer pursuant to Section 349.07 of the
                                                                                                                      binding
                                                              Ohio Revised Code).


            4.3 Seller warrants that no improvements or services (site
                                                                       or area) have been installed or furnished, nor notification
            received from public authority or owner’s association of
                                                                      future improvements or which any part of the costs may
            be assessed against the premises, except the followin
                                                                   g: (none if nothing inserted)




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         5. Fixtures and Equipment.


               5.1 The consideration shall include all fixtures owned
                                                                      by the seller, including but not limited to:

         • All light fixtures                                                      • Curtain rods and window                                                   • Outside cooking units, if
         • All exterior plants, trees,                                             coverings (excluding                                                        attached to the premises
        landscaping lights and                                                     draperies and curtains)                                                     • Pumps
        controls                                                                   • Fences, including                                                         • Roof antenna
        • Attached floor coverings                                                 subsurface electric fences                                                  • Smoke and carbon
        • Attached media brackets                                                  and components.                                                             monoxide
        (excluding televisions and                                                 • Fire, smoke and security                                                  detectors
        other audio/visual                                                         systems and controls                                                        • Stationary tubs
        components attached to                                                     • Fireplace inserts, logs,                                                  • Storm and screen doors
        such brackets)                                                             grates, doors and screens                                                   and windows, awnings,
        • Attached mirrors                                                         • Garage door openers and                                                  blinds and window air
        • Attached wall to wall                                                    controls                                                                   conditioners, whether now in
        carpeting                                                                  • Heating and                                                              or on the premises or in
        • Bathroom, lavatory and                                                  central air conditioning                                                    storage
       kitchen fixtures                                                           • Water heater                                                              • TV Antennas/Satellite
       • Built in appliances                                                      • Humidifying equipment and                                                 reception system and
       • Central vacuum systems                                                   their control apparatuses                                                   components (excluding
       and attachments.                                                           • Mailboxes and permanently                                                 televisions and other
                                                                                  affixed flagpoles                                                           audio/visual components)
                                                                                                                                                              • Water conditioning systems


       And including the following:

                 All kitchen appliances (Refrigerator, Dishwasher,
                                                                   Oven/Range, Microwave) that are currently presen
                                                                                                                    t.



      5.2 The following shall be excluded: (none if nothing
                                                            inserted)




      5.3 The following leased items shall be excluded:
                                                        (none if nothing i n se rte d )




      6. Inspections and Tests:
          6.1 The Broker strongly recommends that the
                                                             Buyer conduct inspections and/or tests. The Broker
                                                                                                                       further
          recommends that inspections and tests be performed
                                                                by a home inspector duly licensed by the State of Ohio,
                                                                                                                            or,
          with respect to specific components or conditions,
                                                             be performed by a qualified person who is exemp
                                                                                                                t from home
          inspector licensure requirements pursuant to Ohio
                                                               Revised Code section 4764.03. The Buyer and
                                                                                                                   the Seller
          understand and agree that the Broker neither warran
                                                              ts nor assumes responsibility for the physical conditio
                                                                                                                      n of the
          premises.


            IT IS       NOT THE INTENTION OF THIS                                      PROVISION               TO PERMIT THE BUYER TO TERMINATE THIS
           AGREEMENT FOR COSMETIC OR NON-MATERI
                                                AL CONDITIONS.


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            Buyer shall be responsible for the repair of any damage
                                                                       s caused by the Buyer's inspections and tests; repairs
            shall be completed in a timely and workmanlike manner
                                                                      at Buyer’s expense.

                6.2 Seller shall cooperate in making the premises reasonably
                                                                              available for inspections and/or tests.
               6.3 Specified Inspection Period: Buyer shall have         n/a       (not applicable if the number of calendar days
               is not inserted) calendar days after the date of acceptance
                                                                             of the contract by both parties to have inspections,
               environmental inspections, and/or tests completed. This time
                                                                              period shall be known as the Specified Inspection
               Period. The number of calendar days for the Specified Inspecti
                                                                               on Period is a specific time frame agreed upon by
               the Seller and the Buyer. The number of calendar days
                                                                           cannot be modified or waived except by a written
               agreement signed by both parties.
               All requests to remedy shall be submitted to the Seller or
                                                                          Seller's Broker within the Specified Inspection Period.
               Time is of the essence in completing any of the inspections,
                                                                            tests, and/or reports.

        The Buyer, at Buyer’s expense, shall have the right
                                                                 and is strongly encouraged to have any and all
        inspections, tests, and/or reports conducted, includin
                                                              g but not limited to the following:


                     a)     Inspection of the premises and all improvements, fixtures,
                                                                                       and equipment;
                     b)     Inspection or testing for radon;
                     c)     Inspection or testing for mold, and any other environmental
                                                                                        test;
                     d)     Inspection or testing for lead-based paint;
                     e)    A pest inspection for termite and wood destroying insects
                                                                                     with a report provided on a FHA/VA approved
                     f)    form by a licensed Ohio Certified Pest (Termite) Control
                                                                                    Applicator;
                     g)    Inspection of the gas lines on the premises;
                     h)    Inspection of the waste treatment systems and/or well systems
                                                                                         by a local health authority or state EPA
                           approved laboratory of the Buyer’s choice;
                    i)     Determination of the need for and cost of federal flood
                                                                                    insurance;
                    j)     Confirmation of the insurability of the premises with an
                                                                                    insurance company of the Buyer’s choice.


                    With respect to housing constructed prior to January 1, 1978,
                                                                                      the Buyer must be provided with the pamphlet
                    entitled “Protect Your Family from Lead in Your Home”
                                                                               and the “Lead-Based Paint and Lead-Based Hazard
                    Disclosure Form.” Every Buyer of any interest in resident
                                                                                ial real property on which a residential dwelling was
                    built prior to 1978 is notified that such property may present
                                                                                    exposure to lead from lead-based paint that may
                    place young children at risk of developing lead poisonin
                                                                              g.


                    Lead poisoning in young children may produce permanent
                                                                           neurological damage including learning disability,
                    reduced intelligence quotient, behavioral problems,
                                                                           and impaired memory. Lead poisoning also poses
                                                                                                                                    a
                    particular risk to pregnant women. The Seller of any interest
                                                                                  in residential real property is required to provide
                   the Buyer with any information on lead-based paint hazards
                                                                                 from risk assessments or inspections in the
                   Seller’s possession and notify the Buyer of any known lead-bas
                                                                                     ed paint hazards. A risk assessment or
                   inspection for possible lead-based paint hazards is recomm
                                                                              ended prior to purchase.


            6.4 If the Buyer is not, in good faith, satisfied with the
                                                                       condition of the premises as disclosed by the Buyer’s
            inspections, tests, and/or reports provided for in paragraph
                                                                         6.3 then the Buyer may elect to proceed under one of
            the following provisions, 6.4(a) or 6.4(b):


                  6.4(a) Agreement to Remedy Period: On or before the
                                                                                  end of the Specified Inspection Period, the Buyer
                  shall deliver to the Seller or the Seller’s Broker a written
                                                                                request to remedy, signed by the Buyer, stating the
                  unsatisfactory conditions, along with a written copy of
                                                                              the inspections, tests, and/or reports, specifying the
                  unsatisfactory conditions.


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                      The Buyer and Seller shall have        n/a    calendar days (not applicable if the number of calendar days
                                                                                                                                     is
                       not inserted), after the end of the Specified Inspection
                                                                                    Period, to reach a written agreement regarding
                       remedying the unsatisfactory conditions. This time period shall
                                                                                        be known as the Agreement to Remedy Period.
                      The number of calendar days for the Agreement to Remedy
                                                                                       Period is a specific time frame agreed upon by
                      the Seller and the Buyer. The number of calendar days cannot
                                                                                             be modified or waived except by a written
                      agreement signed by both parties. In the event the Buyer
                                                                                       and Seller do not reach a written agreement
                      regarding remedying the unsatisfactory conditions within the
                                                                                        Agreement to Remedy Period, and the Buyer
                      and Seller have not executed a written extension of the Agreem
                                                                                              ent to Remedy Period, this contract shall
                      terminate. Upon termination of the contract under this provision
                                                                                         , the earnest money deposit shall be returned
                      to the Buyer pursuant to paragraph 12.
                           OR


                      Prior to the end of the Agreement to Remedy Period, the Buyer
                                                                                    can, in writing, waive such request to remedy
                     and proceed with the contract.


                     The commencement of the Agreement to Remedy Period does
                                                                             not obligate the Seller to reach an agreement
                     with the Buyer.


                     The delivery by the Buyer of a written request to remedy any
                                                                                  unsatisfactory conditions does not preclude the
                     Buyer from later delivering a notice of termination as
                                                                            contemplated by paragraph 6.4(b) below during the
                     Agreement to Remedy Period, unless the Buyer and Seller
                                                                                have reached a signed agreement regarding the
                     Buyer’s written request to remedy.
                              OR


                    6.4(b) Notice of Termination: Within the Specified Inspectio
                                                                                 n Period or as provided in paragraph 6.4(a), the
                    Buyer may terminate this contract by delivering written
                                                                            notice of termination to the Seller or Seller’s Broker,
                    along with a written copy of the inspections, tests, and/or
                                                                                reports, specifying the unsatisfactory conditions.
                    Upon termination, the earnest money deposit shall be returned
                                                                                   to the Buyer pursuant to paragraph 12.

                    FAILURE OF THE BUYER TO DELIVER WRITTEN NOTICE
                                                                    PURSUANT TO PARAGRAPHS 6.4(a) OR
                    6.4(b) CONSTITUTES ACCEPTANCE OF THE CONDIT
                                                                ION OF THE PREMISES AND SHALL BE A
                    WAIVER OF THE BUYER’S RIGHT TO TERMINATE PURSU
                                                                   ANT TO THIS PROVISION.


             6.5 Condominium or Homeowners’ Association Docume
                                                              nt Provisions


                    6.5(a) If the premises is a condominium unit governed by
                                                                             a Condominium Association, or is located within a
                    community governed by a Homeowners’ Association, Seller
                                                                               shall provide Buyer with the following information
                    and documents within 5 calendar days after the date of
                                                                           acceptance of the contract by both parties:
                        •    Condominium Declaration and/or Deed Restrictions, and
                                                                                           Bylaws of the owners’ association
                             (condominium or homeowners’), including all amendments
                                                                                        to the Declaration or Deed Restrictions
                            except amendments that only increase the number of
                                                                                  units or homes subject to the Declaration or
                            Deed Restrictions;
                          •       Condominium Board/Management Company Contact: Name,
                                                                                          phone number, email;
                          •       Contact information for any other mandatory membership
                                                                                         association if applicable: Name, phone
                                  number, email;
                          •       A statement from the association regarding this home/un
                                                                                          it, confirming when the next (assessment)
                                  payment is due, the amount of such payment, the amount
                                                                                          of any pending special assessment(s), and
                                  that the account is current;

                         •        Association Initiation Fee, Reserve Contribution, and Associa
                                                                                                tion Transfer Fee;
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                             •     Minutes from the last 3 meetings of the directors or trustees
                                                                                                  of the owners’ association;
                             •     Minutes from the last meeting of members of the owners
                                                                                              ’ association;
                             •     Most recent version of unrecorded Rules and Regula
                                                                                      tions;
                             •    Current Financial Statement showing the nature of the
                                                                                        association's assets, including:
                                      1. Most current balance sheets, income and expens
                                                                                          e statements, and budget; and
                                     2. Copy of the most recent reserve study.


              6.5(b) Review Period: Buyer’s obligations are conting
                                                                        ent upon satisfactory review of the documents provide
                                                                                                                                   d
               pursuant to paragraph 6.5(a). Buyer shall have 5 calenda
                                                                           r days after receipt of the last delivered documents, or
               1 0 calendar days after the date of acceptance of the
                                                                     contract by both parties, whichever shall first occur, in
                                                                                                                               which
              to review the documents. If Buyer is not provided some
                                                                         or all of the requested documents or is not satisfied with
              any of the requested documents within the stated time
                                                                        period for Buyer review, Buyer, as Buyer’s sole remedy
                                                                                                                                    ,
              may deliver a written notice of termination to Seller,
                                                                     and the earnest money shall be returned to Buyer pursuan
                                                                                                                                    t
              to paragraph 1 2. Buyer’s failure to deliver the written
                                                                        notice of termination within 5 calendar days following
              Buyer’s receipt of the requested documents, or 10
                                                                       calendar days after the acceptance of the contra
                                                                                                                               ct by
              both parties, whichever shall first occur, constit
                                                                  utes a waiver of Buyer’s right to terminate pursua
                                                                                                                             nt to
              this provision. This provision does not limit Buyer’s
                                                                    right to object to matters set forth on the title commit
                                                                                                                             ment
              pursuant to paragraph 9.3 herein.


       7. Warranties:
              7.1 Home Warranty or Protection Plan: The Seller, at
                                                                         a cost not to exceed $     n/a       plus applicable sales
              tax (not applicable if nothing is inserted), shall provide
                                                                         a home warranty or protection plan from Coldwell Banker
              Home Protection Plan administered by American
                                                                          Home Shield Corporation. The Broker may receive
              compensation for services rendered in connection
                                                                    with the sale of the home warranty or protection plan.


       8. Deed:
             8.1 The Seller shall convey to the Buyer marketable
                                                                   title in fee simple by transferable and recordable general
             warranty deed, with release of dower, if any, or
                                                              fiduciary deed, as appropriate, free and clear of
                                                                                                                 all liens and
             encumbrances not excepted by this contract, and
                                                              except the following:
                  a) those created by or assumed by the Buyer;
                      b)    those specifically set forth in this contract;
                     c)     zoning ordinances;
                     d)     legal highways;
                     e)     covenants, restrictions, conditions and easements of
                                                                                 record that do not unreasonably interfere with
                            present lawful use; and
                     f)     all coal, oil, gas and other mineral rights and interests
                                                                                      previously transferred or reserved of record.

            8.2 Seller has not transferred, conveyed, or reserve
                                                                 d, nor does Seller have any knowledge of any prior
                                                                                                                     transfers,
            conveyances or reservations of any coal, oil, gas,
                                                               or other mineral rights or interests in the premises,
                                                                                                                     except for
            the following (none if nothing inserted):




     9. Title Insurance:
            9.1 The Seller shall furnish and pay for an ALTA Homeo
                                                                     wner’s Commitment and Policy of Title Insurance
                                                                                                                     (latest
            revision) in the amount of the purchase price with a copy
                                                                      of the subdivision or condominium plat.

           In the event that an ALTA Homeowner’s Policy is
                                                           not applicable for issuance on the premises, the
                                                                                                               Seller shall
           furnish and pay for an ALTA Owner's Commitment
                                                            and Policy of Title Insurance (latest revision) with a
                                                                                                                   copy of
           the subdivision or condominium plat.
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                                                                                                          Real Estate LLC. Real estate agents affiliated with
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                Seller shall provide the base policy coverage for the applicab
                                                                               le ALTA policy. Buyer is responsible for the cost of
               any coverage that., requires additional premium for endorsements
                                                                                or the deletion of any standard exceptions.

               The title evidence shall be certified to within thirty (30) calenda
                                                                                   r days prior to closing with endorsement as of 8:00
               AM on the business day prior to the date of closing, all in accorda
                                                                                      nce with the standards of the Columbus Bar
               Association, and shall show in Seller marketable title, in fee
                                                                                simple, free and clear of all liens and encumbrances,
               subject to all matters listed in Paragraph 8.1.


               9.2 Seller shall deliver, or cause to be delivered, to Buyer or
                                                                                Buyer’s Broker, a copy of the Commitment referenced
               in Paragraph 9.1 above no later than fifteen (15) calenda
                                                                                r days prior to the date of closing pursuant to this
               agreement. If the Seller does not deliver the Commitment within
                                                                                     the stated time period, Buyer may, by delivering
               written notice to Seller or Seller’s Broker, either terminat
                                                                            e this contract, or extend the date of closing to the tenth
               day following Seller’s delivery of the Commitment. Upon terminat
                                                                                    ion pursuant to this provision, the earnest money
               deposit shall be returned to the Buyer pursuant to paragrap
                                                                               h 12.


              9.3 Buyer may object if the Commitment indicates that
                                                                      title to all or part of the premises is unmarketable, as
              determined by Ohio law with reference to the Ohio State
                                                                       Bar Association’s Standards of Title Examination, or if
              Buyer, in good faith, objects to liens, encumbrances, easeme
                                                                                      nts, conditions, restrictions, conveyances or
              encroachments that are disclosed in, or excepted by, the
                                                                               Commitment, including, without limitation, all matters
              listed in Paragraph 8.1(c) through 8.1(f) Buyer must notify
                                                                               the Seller or Seller’s Broker in writing of the objection
              by the earlier of: (i) the Closing date, or (ii) ten (10) calenda
                                                                                 r days after Buyer receives the Commitment. Upon
              receipt of Buyer’s written notice of an objection permitted herein,
                                                                                     the Seller shall, within thirty (30) calendar days,
              remedy or remove any such defect, lien, encumbrance,
                                                                               easement, condition, restriction or encroachment, or
              obtain title insurance without exception therefor. The date
                                                                             of closing shall be extended to the extent necessary to
              accommodate Seller’s efforts to remedy or remove items
                                                                            subject to the objection. Failure of the Seller to cure the
              Buyer’s objection shall result in termination of this contract
                                                                             .


              Seller is not obligated to incur any expense in curing Buyer’s
                                                                             objection. In the event that the cure of an objection
             will subject the Seller to additional expense, Seller shall have
                                                                               the option to either cure the objection at Seller’s
             expense or to terminate the Contract by delivering a written
                                                                           Notice of Termination to the Buyer or Buyer’s Broker.
             Upon termination, the earnest money deposit shall be returned
                                                                                to the Buyer pursuant to paragraph 12. Buyer’s
             failure to object as permitted herein constitutes a waiver of
                                                                           Buyer’s right to object.

             9.4 If required by the Buyer’s lender, the Buyer shall pay
                                                                        any expense incurred in connection with the mortgagee
             title insurance issued for the protection of the Buyer's lender.
                                                                              If the Buyer or Buyer’s lender desires a current
             survey, the Buyer shall furnish and pay for such survey.


             9.5 At closing, the Seller shall sign and deliver to Buyer and
                                                                            title insurer an affidavit with respect to off record title
             matters in accordance with the community custom.


      10. Utility Charges, Condominium Charges, Interest,
                                                          Rentals, and Security Deposits:
            10.1 Through the date of possession, the Seller shall pay
                                                                      all accrued utility charges and any other charges that
            are or may become a lien on the premises.


            10.2 Adjustments shall be made through the date of closing
                                                                       for (a) rentals, (b) interest on any mortgage assumed
            by the Buyer, and (c) condominium or other association periodic
                                                                             charges.

            10.3 Security deposits shall be transferred to the Buyer.


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                1 0.4 At closings for condominium properties or properties subject to a
                                                                                        homeowners’ association, Buyers shall pay
               all initial reserves and/or capital contributions that are charged by any
                                                                                             owner’s association (condominium or
               otherwise), or civic association in connection with the sale or transfer
                                                                                             of the premises, as well as any fee
               associated with lender-required document costs. Seller shall pay all other
                                                                                           fees that are charged in connection with
               the sale or transfer of the premises, including without limitation all
                                                                                        transfer, processing, expediting, delivery,
               statement or management company fees.


        11. Damage or Destruction of Premises:
        NOTE: IT IS STRONGLY RECOMMENDED THAT, UPON DISCOVE
                                                            RY OF DAMAGE OR DESTRUCTION OF
        PREMISES, THE PARTIES RETAIN LEGAL COUNSEL.


               11.1 Risk of loss to the premises and appurtenances occurring prior to
                                                                                      closing shall be borne by the Seller.

               11.2 If any part of the premises covered by this contract shall be
                                                                                  substantially damaged or destroyed from the
              date of written acceptance of this contract through the date and time
                                                                                       of closing, the Seller shall give a written
               notice to the Buyer and/or Buyer’s Broker that the damage or destructio
                                                                                       n has occurred. Such notice must include
              all pertinent information regarding insurance policies and claims covering
                                                                                          the premises that has been damaged
              or destroyed, including the amount of any applicable policy deduction
                                                                                    . The written notice shall be delivered within
              two (2) calendar days from the date of the discovery of the damage
                                                                                    or destruction. Upon receipt of such notice,
              the Buyer may:

                     a)     agree to extend the closing date to the extent reasonably necessary to
                                                                                                   allow Seller to restore the
                            premises to its previous condition;
                     b)     accept the premises in its damaged condition with an assignment
                                                                                            of insurance proceeds, if any are
                           available; or
                     c)    terminate the contract by giving written notice to Seller and/or Seller's
                                                                                                     Broker. Upon termination the
                           earnest money deposit, including any non-refundable deposits shall be
                                                                                                      returned to the Buyer pursuant to
                           paragraph 12.
              11.3 Failure by the Buyer to notify the Seller and/or Seller's Broker
                                                                                    in writing within the ten (10) calendar days
              from receipt of the notice of damage or destruction that Buyer
                                                                                is electing to proceed pursuant to paragraphs
              1 1 .2(a) or (b) shall constitute an election by the Buyer to terminate the
                                                                                          contract pursuant to paragraph 1 1 .2(c)
             11.4 Failure by the Seller to provide the required written notice to
                                                                                  the Buyer and/or Buyer’s Broker shall result in
             the Buyer, upon discovery of the damage or destruction, having all
                                                                                   rights set forth in paragraph 11.2.
             11.5 If Buyer discovers the damage or destruction after closing, Buyer
                                                                                    shall have the right to pursue all legal
             remedies.


       12. Earnest Money Deposit:


             12.1 The Buyer shall make an Earnest Money Deposit in the amount
                                                                              of $
             (Paragraph 12 is not applicable if no amount inserted).


                    12.1(a) The Earnest Money shall be deposited (Buyer shall select and
                                                                                         initial one of the following):


                              |                          with the Buyer's Broker not later than three (3) calendar days after acceptance of this
                   contract by both parties in writing.


                                             OR
                                      with the Buyer’s Broker not later than three (3) calendar days after
                                                                                                           the expiration of the
                   Agreement to Remedy Period as set forth in paragraph 6.4, provided
                                                                                         this Contract has not otherwise been
                   terminated.
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                      12.1(b) Within 3 calendar days of the receipt of the earnest money,
                                                                                            the Buyer or Buyer’s Broker shall notify
                      the Seller or Seller’s Broker in writing that Buyer has made the earnest
                                                                                               money deposit (the “Deposit Notice”).


                       12.1(c) If Seller or Seller’s Broker does not receive the Deposit Notice
                                                                                                 within 3 calendar days following the
                      date set forth in paragraph 12.1(a) for deposit of the Earnest Money,
                                                                                               Seller may, at any time until Seller or
                      Seller’s Broker has received the Deposit Notice, notify Buyer or Buyer’s
                                                                                                  Broker in writing that Seller has not
                      received the Deposit Notice (a “Deposit Notice Demand”). If Seller
                                                                                               receives the Deposit Notice within 3
                      calendar days after the delivery of Seller’s Deposit Notice Demand,
                                                                                                 the parties shall proceed with the
                      transaction. If Seller does not receive the Deposit Notice within 3
                                                                                          calendar days after delivery of the Deposit
                      Notice Demand, Buyer will be in breach of this contract and Seller
                                                                                          may, at any time thereafter until the Deposit
                      Notice has been delivered, terminate this contract by delivering written
                                                                                               notice of termination to the Buyer.

               12.2 Upon receipt of the earnest money by the Broker, the earnest
                                                                                 money shall be deposited in the Broker’s trust
               account.



                                                                         Earnest Money Deposit Receipt

               Broker acknowledges receipt of the Earnest Money Deposit set
                                                                              forth in Paragraph 12.1 by cash or check
               (check#                ), which shall be held, deposited and disbursed pursuant to paragrap
                                                                                                           h 12.


              Brokerage                      Coldwell Banker Realty
                                                                                             , By


              12.3 If any written contingency is not satisfied or waived, or if the
                                                                                    Seller fails or refuses to perform or if the Buyer
              rescinds this contract pursuant to paragraph 1 1 .2, all earnest money
                                                                                      deposited hereunder shall be returned to the
              Buyer. If the Buyer fails or refuses to perform, the earnest money deposited
                                                                                                hereunder shall be paid to the Seller.
              In any event, except as provided in paragraph 3.3, and subject to collection
                                                                                               by the Broker’s depository, all earnest
              money deposited hereunder are to be disbursed as follows:


              a)    When the transaction closes the earnest money will be applied
                                                                                  as a credit to the purchase price (it is
                    understood by all parties there will be no check issued at
                                                                               closing from Broker's trust account. The
                    earnest money will be applied as a credit to the purchase
                                                                              price); or
             b)     The parties provide the Broker with written instructions that both
                                                                                        parties have signed that specify how the
                    Broker is to disburse the earnest money deposited hereunde
                                                                                      r and the Broker acts pursuant to those
                    instructions; or
             c)     The Broker receives a copy of a final court order that specifies to
                                                                                        whom all earnest money deposited hereunder
                    is to be awarded and the Broker acts pursuant to the court order;
                                                                                         or
             d)    All earnest money deposited hereunder becomes unclaimed funds
                                                                                            as defined in division (M)(2) of section
                   169.02 of the Revised Code, and, after providing the notice that
                                                                                      division (D) of section 169.03 of the Revised
                   Code requires, the Broker has reported the unclaimed funds to the
                                                                                          director of commerce pursuant to section
                   169.03 of the Revised Code and has remitted all of the earnest money
                                                                                              to the director; or
             e)    In the event of a dispute between the Seller and Buyer regarding
                                                                                          the disbursement of any earnest money
                   deposited hereunder, the Broker is required by Ohio law to maintain
                                                                                            such funds in his trust account until the
                   Broker receives (1) written instructions signed by the parties specifying
                                                                                                   how the earnest money is to be
                   disbursed or (2) a final court order that specifies to whom the earnest
                                                                                              money is to be awarded. If within two
                   years from the date the earnest money was deposited in the Broker’s
                                                                                                trust account, the parties have not
                   provided the Broker with such signed instructions or written notice
                                                                                       that such legal action to resolve the dispute
                   has been filed, the Broker shall return the earnest money to the Buyer
                                                                                             with no further notice to the Seller.

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               12.4 Except as provided in paragraph 3.3, the return or
                                                                        payment of the earnest money deposit hereunder shall
                                                                                                                              in
               no way prejudice the rights of the Seller, Buyer, or Broker
                                                                           in any action for damages or specific performance.

         13. Additional Provisions:


               13.1 This contract constitutes the entire agreement and
                                                                          there are no representations, oral or written, which have
               not been incorporated herein. Any amendment to this
                                                                        Contract shall be made in writing signed by the Buyer
                                                                                                                                and
               Seller. All notices given in connection with this contract
                                                                          shall be made in writing signed by the party giving such
               notice.


              13.2 Time is of the essence regarding all provisions
                                                                       of this contract. Whether or not so stated elsewhere
                                                                                                                              in this
              contract, no deadline or time period under this contrac
                                                                         t can be modified or waived except by written agreem
                                                                                                                                  ent
              signed by both parties. Repetition of this provision in
                                                                      any given paragraph of this contract is intended for
                                                                                                                           emphasis
              only, and shall not reduce the effect of this paragraph
                                                                        as to any other provision of this contract.

              13.3 All representations, covenants, and warranties
                                                                  of the parties contained in this contract shall survive
                                                                                                                          the
              closing.


              13.4 Term Definition: The term “Broker” shall include,
                                                                       without limitation, Broker and/or Broker’s agents and
                                                                                                                              shall
              include collectively, except where the context clearly indicate
                                                                              s otherwise, both the Seller’s Broker and the Buyer’s
              Broker, if different. The term “day(s)” means calendar
                                                                      day(s). All references to dates and times refer to Columb
                                                                                                                                us,
              Ohio time.


              13.5 Signatures: Only manual or electronic signatures
                                                                    on contract documents, transmitted in original or facsimil
                                                                                                                               e
              (which includes photocopies, faxes, PDF, and scanne
                                                                 d documents sent by any method) shall be valid for
                                                                                                                    purposes
             of this contract and any amendments or any notices to
                                                                       be delivered in connection with this contract. For the
             purposes of this provision, “contract documents" do not
                                                                     include voice mail, email messages, or text messages.

             13.6 Date of Acceptance: The date of acceptance of
                                                                     this Contract, counter offers, amendments or modifications
             thereto shall be when the final writing signed by the
                                                                    parties is delivered to the offering party. Notices delivere
                                                                                                                                 d in
             connection with this contract shall be effective upon
                                                                   delivery. Delivery of all such documents shall be made
                                                                                                                             by fax,
             email, text, or hand delivery.


             (NOTE: It is strongly recommended that the deliver
                                                                ing party verify that delivery has been received
                                                                                                                 by the
             other party.)


             13.7 Foreign Investments in Real Property Tax Act
                                                               ("FIRPTA"). If Seller is a "foreign person" as defined
                                                                                                                      by
            FIRPTA, Section 1445 of the Internal Revenue Code
                                                                   requires Buyer to withhold 15% of the amount realized
                                                                                                                          by
            Seller on the transfer and remit the withheld amount
                                                                 to the Internal Revenue Service (IRS) unless an exempt
                                                                                                                         ion
            or reduced rate of withholding applies. If withholding is
                                                                      required, Treasury Regulations require Sellers and Buyers
            to provide their U.S federal tax identification number
                                                                   on all filings. Seller and Buyer agree to execute and
                                                                                                                         deliver
            any document reasonably necessary to comply with
                                                                   FIRPTA requirements.


            NOTE: Buyer and Seller are advised to determ
                                                        ine whether Seller is a "foreign person" as defined
                                                                                                            by
            FIRPTA as soon as possible.


            13.8 This contract shall be binding upon the parties, their
                                                                        heirs, executors and assigns.



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    —          sales
                 '   associates and are not employees of Coldwell Banker
                                  J       ‘    1                         Realty.
                                                                                                                                                                                Realty are independent
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         14. NOTICES TO THE PARTIES:


               14.1 Professional Advice and Assistance: The parties
                                                                            acknowledge and agree that the purchase of real
               property encompasses many professional disciplines. While
                                                                                 the Broker possesses considerable general
               knowledge, the Broker is not an expert on matters of law,
                                                                               tax, financing, surveying, structural conditions,
               hazardous materials, environmental conditions, inspections,
                                                                           engineering, etc. The Broker will not search the public
               record for information pertaining to the property. The Broker
                                                                                  hereby advises the parties, and the parties
               acknowledge that they should research all public records concern
                                                                                  ing the property and seek professional expert
               assistance and advice in these and other areas of professional
                                                                              expertise.


               In the event the Broker provides to the parties’ names of compan
                                                                                 ies or sources for such advice and assistance,
               the parties additionally acknowledge and agree that the
                                                                          Broker does not warrant, guarantee, or endorse the
               services and/or products of such companies or sources. The
                                                                                Buyer and Seller agree to indemnify and hold
               harmless Coldwell Banker Realty, its agents, officers, manage
                                                                              rs, shareholders and employees from all claims,
               demands, damages, liability and expenses (including reasona
                                                                            ble attorney fees) arising there from.


               14.2 Ohio Fair Housing Law: It is illegal, pursuant to the Ohio
                                                                                   Fair Housing Law, Division (H) of Section 4112.02
              of the Revised Code, and the Federal Fair Housing Law, 42 U.S.C.A.
                                                                                          3601, as amended, to refuse to sell, transfer,
              assign, rent, lease, sublease, or finance housing accommodations
                                                                                        ; refuse to negotiate for the sale or rental of
              housing accommodations; or otherwise deny or make unavaila
                                                                                    ble housing accommodations because of race,
              color, religion, sex, familial status as defined in Section 4112.01
                                                                                    of the Revised Code, ancestry, military status as
              defined in that section, disability as defined in that section,
                                                                               or national origin or to so discriminate in advertising
              the sale or rental of housing, in the financing of housing, or in
                                                                                 the provision of real estate brokerage services.
              It is also illegal, for profit, to induce or attempt to induce
                                                                             a person to sell or rent a dwelling by representations
              regarding the entry into the neighborhood of a person or persons
                                                                                     belonging to one of the protected classes.


             14.3 Residential Property Disclosure Form: With respect
                                                                              to the sale of real property that has from one to four
             dwelling units, most Sellers will be required to provide the
                                                                               Buyer with a completed Property Disclosure Form
             complying with the requirements of Ohio law. If such disclosu
                                                                                 re is required but is not provided by the time the
             Buyer enters into this agreement, the Buyer may be entitled
                                                                              to rescind this agreement by delivering a document
             of rescission to the Seller or the Seller’s Broker, provided such
                                                                                    document of rescission is delivered prior to all
             three of the following dates: (a) the date of closing, (b) 30
                                                                           days after the Seller accepted the Buyer’s offer, and (c)
             within 3 business days following the receipt by the Buyer or
                                                                              the Buyer’s Broker of the Property Disclosure Form
             or amendment of that form.


             14.4 Ohio’s Sex Offender Registration and Notification Law:
                                                                              If a sex offender resides in the area, Ohio’s Sex
             Offender Registration and Notification Law requires the local
                                                                           sheriff to provide written notice to certain members
             of the community. The notice provided by the sheriff is a
                                                                        public record and is open to inspection under Ohio’s
             Public Records Law.


            The Buyer acknowledges that any information disclosed
                                                                  may no longer be accurate. The Buyer assumes
            responsibility to obtain accurate information from the sheriffs
                                                                                 office. The Buyer shall rely on the Buyer’s own
            inquiry with the local sheriffs office and shall not rely on the
                                                                             Seller or any Broker involved in the transaction.


            14.5 Concessions: Buyer and Seller authorize the Broker
                                                                    to report sales and financing concessions data to the
            MLS membership and MLS sold database as applicable and
                                                                   to provide this information to state licensed
            appraisers researching comparables, upon inquiry, to the
                                                                     extent necessary to adjust price to accurately reflect
            market value.


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                14.6 Property Condition: Buyer has been given the opportu
                                                                         nity to examine all property involved and is relying
               solely upon such inspections, examination and test with referenc
                                                                                e to the condition, character and size of land and
               improvements and fixtures, if any. Buyer and Seller agree
                                                                         to indemnify and hold harmless Coldwell Banker Realty,
               its agents, officers, managers, shareholders and employe
                                                                        es from all claims, demands, damages, liabilities and
               expenses (including reasonable attorney fees) arising
                                                                       out of any negligence, misrepresentations, or non
               disclosures by Seller or Buyer.


               14.7 Use of Legal Counsel: It is strongly recommended
                                                                              that all parties to this contract be represented by legal
               counsel. All legal questions involving this contract or this real
                                                                                 estate transaction should be directed to an attorney.

               14.8 Agency Disclosure. Buyer acknowledges receipt
                                                                  of the Agency Disclosure Statement, Coldwell Banker
               Realty Consumer Guide and if applicable the Dual Agency
                                                                       Disclosure Statement.

        15. Closing and Possession:


              15.1 Closing: This contract shall be performed and this transact
                                                                                ion closed on or before
                        07/16/2021          unless the parties agree in writing to an extension. The
                                                                                                     Parties hereby expressly
              authorize any lender and/or closing agent to provide the parties'
                                                                                 brokers, agents and attorneys with the closing
              settlement statement (ALTA-1 or equivalent) for review in
                                                                         advance of closing.


              1 5.2 Final Verification of Condition: Buyer shall have
                                                                      the right to make a final verification of the condition of the
              Property within       n/a       calendar days prior to the day of closing (if left blank, the number
                                                                                                                   of calendar days
              shall be 2) to confirm that the premises are in the same conditio
                                                                                 n as they were on the date of this contract, or as
              otherwise agreed, and that repairs, if any, have been complet
                                                                             ed as agreed.

              15.3 Possession: Seller is entitled to possession through
                                                                                                                                 closing                  . At the time the Seller delivers
              possession, the premises will be in the same condition
                                                                      as
                                                                      the date of acceptance of this contract, normal wear
             and tear excepted, and except as provided in paragraph
                                                                    11.


             15.4 Debris and Personal Property: The Seller shall remove
                                                                        all debris and personal property not included in this
             contract by the date and time of the Buyer’s possess
                                                                 ion.


      16. Duration of Offer:


             This offer shall be open for acceptance through


                                                                    **SIGNATURES ON FOLLOWING PAGE**




    ©2021 NRT Columbus LLC. All Rights Reserved. Coldwell
                                                             Banker Realty fully supports the principles of the Fair Housing
                                                                                                                             Act and the Equal Opportunity Act. Operated by a subsidiary
    Coldwell Banker and the Coldwell Banker Logo are registered                                                                                                                            of NRT LLC.
                                                                 service marks owned by Coldwell Banker Real Estate LLC.
    contractor sales associates and are not employees of Coldwell                                                            Real estate agents affiliated with Coldwell Banker Realty are
                                                                  Banker Realty.                                                                                                           independent
                                                                                                                                                          REV01 .2021
dotloop signature verification:
               Case 2:21-bk-51802
                       ;-
                                                             Doc 39           Filed 08/30/21 Entered 08/30/21 14:04:10                                                         Desc Main
                                                                             Document     Page 29 of 54
                                                                                                                                                                                                    14 of 14
         Premise Address:                                                                  7922 3rd Street, Orient, OH 43146


         The undersigned Buyer agrees to the terms and
                                                                                                                   The undersigned Seller agrees to the terms and
         acknowledges the receipt hereof:
                                                                                                                   acknowledges the receipt hereof:
                                                                                   dotioop verified
         Signature:                                                                06/13/21 10:35 AM EDT                                                                                         dotiocp verified
                                                                                   GM FQ-MTBV-6SRX-7H2U           Signature:                                                                     06/13/21 10:32 AM
                                                                                                                                                                                                 EOT
         Print Name:                                      Linda Orem                                              Print Name:                                     John E Orem Jr.
         Date Signed:
                                                                                                                  Date Signed:


                                                                                   dotloop verified
        Signature:                                                                 06/13/21 10:53AM EDT                                                                                      dotloop verif ied
                                                                                   OAKR-UQ3Q-WIJU-SRSE            Signature:                                                                 06/13/21 10:27 AM EDT
                                                                                                                                                                                             UWWV-9XQQ-QT0X-MIYM
        Print Name:                                     John Orem Sr                                              Print Name:                                     Seerina L Orem
        Date Signed:
                                                                                                                  Date Signed:



        Phone #:
                                                                                                                  Phone #:
        Deed to:                       Linda Orem and John Orem Sr


       Attorney:
                                                                                                                 Attorney:
        Office #:_
                                                                                                                 Office#:
        Fax #:
                                                                                                                 Fax #:
       Email:
                                                                                                                 Email:


       Brokerage:                    Coldwell Banker Realty                                                      Brokerage:                               Coldwell Banker Realty


       Brokerage License #:                          2008002470                                                  Brokerage License #:                                       2008002470
       MLS Office ID #:                                          03391                                           MLS Office ID#:                                            03391
       office #:                                   (614) 419-9116                                                office #:
       Fax #:
                                                                                                                 Fax #:
      Address:            4535 W. Dublin-Granville Rd., Dublin, OH 43017
                                                                                                                Address:


      Agent:                                     Michael Busch                                                  Agent:                                     Michael D Busch
      Agent License #:                                      2013002266                                          Agent License #:                                       2013002266
      Phone #:                                     (614) 419-9116                                               Phone #:                                      (614) 419-9116
      Alternative Phone #:
                                                                                                                Alternative Phone #:
      Fax #:
                                                                                                                Fax #:
      Email:                        Michael.busch@CBrealty.com                                                  Email:                          Michael.busch@CBrealty.com




                                                                                       Receipt of Offer

            Seller acknowledges receipt of the above Offer for review
                                                                      and consideration. This does not constitute
            acceptance of the offer.

            Seller Signature
                                                                                                                         Date

            Seller Signature
                                                                                                                         Date




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                                                             Banker Realty fully supports the principles of the Fair Housing
    Coldwell Banker and the Coldwell Banker Logo are registered                                                              Act and the Equal Opportunity Act. Operated by a subsidiary
                                                                service marks                                                                                                            of NRT LLC.
                                                                               owned by Coldwell Banker Real Estate LLC. Real estate agents
    contractor sales associates and are not employees of Coldwell Banker                                                                    affiliated with Coldwell Banker Realty are independent
                                                                         Realty.
                                                                                                                                                      REV01.2021
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o'otloop signature verification:
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                                                                                                                                 Addendum                          1            Page                1 of 1

                                                                                                      ADDENDUM TO REAL ESTATE PURCHASE CONTRACT
         COLDWELL                                                                                     Adopted by the Columbus Board of Realtors®
                                                                                REALTOR
          BANKER                                                                                      It is recommended that all parties be represented by legal counsel.

              REALTY


                                                                                                                                                       07/08/2021


         In reference to the Real Estate Purchase Contract originally dated
                                                                                                                                                                                          06/13/2021

         between Buyer                                                                                            Linda Orem and John Orem Sr

        and Seller                                                                                     John E Orem Jr. and Seerina L Orem

        covering the property commonly known as                                                                                             7922 3rd Street, Orient, OH 43146




        The provisions of this addendum supersedes any conflicting provisions
                                                                              in the Real Estate Purchase Contract
        or any other prior addendum.

        1. The Closing shall take place on or before July 23, 2021.


        2. The purchase price shall be $109,500 (One Hundred Nine Thousan
                                                                          d Five Hundred Dollars).


        3. The sellers shall contribute $3,200 (Three Thousand Two Hundred
                                                                           Dollars) towards the buyers' closing costs.


       4. All other terms and conditions shall remain the same.




                                                                                                                                                                                                                         dotloop verified
       Buyer                                                                                                                                                                                                             07/08/21 5:26 PM EDT
                                                                                                                                                                                                                         X6N6-ZXOQ-JDTZ-YZXC

                                                                                                                                                                                                                         dotloop verified
      Buyer                                                                                                                                                                                                              07/08/21 4:15 PM EDT
                                                                                                                                                                                                                         ZBTY-TLIO-JWTO-R25X



                                                                                                                                                                                                                       dotloop verified
      Seller                                                                                                                                                                                                           07/08/21 3:48 PM EDT
                                                                                                                                                                                                                       IZOC-ABKC-NWGE-XHNY


      Seller                                                                                                                                                                                                              dotloop verified
                                                                                                                                                                                                                          07/08/21 4:11 PM EDT
                                                                                                                                                                                                                          1 PNO-YIKL-8TFI-FX4H
                  02020 Coldwell Banker. All Rights Reserved. Coldwcll Banker and the Coldwell
                                                                                                Banker logos
                                                                                                         v are trademarks of Coldwell Banker Real Estate LLC The Coldwell Banker* System is comprised
                  owned by a subsidiary of Realogy Brokerage Group LLC and franchised
                                                                                        offices which are independently owned and operated. The Coldwell Banker                                         of company owned offices which are
                                                                                                                                                                 System fully supports the principles of the Eair Housing Act and the Equal
                  Opportunity Act.

                                                                                                                                                                                                                            REV 12.2020
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                               GENERAL WARRANTY SURVIVORSHIP DEED


   Know all persons by these presents, that:


                                  John E. Orem Jr. and Seerina L. Orem


   husband and wife, the designated Grantor herein, whether one or more
                                                                          than one, for valuable
   consideration received hereby grant and assign with general warranty covenants
                                                                                  , to:


                                       Linda Orem and John Orem Sr.


   the designated Grantee herein whether one or more than one, for their
                                                                            joint lives with the
   remainder to the survivor of them, whose tax-bill mailing address will
                                                                          be the same as the property
   address, which is,


       Situated in the County of Pickaway, Village of Orient and State of Ohio:


       Being a tract of land off of the North side of Lot No. Twenty-Five (25) in
                                                                                  the Village of Morgan
       (now called Orient). Said tract of land fronting fifty (50) feet on Main
                                                                                Street and running back to a
       public alley two hundred and sixty-four (264) feet.


       Property Address:     7922 Third Street, Orient, OH 43146


       Parcel No.: L27-0-100-02-009-00
       Prior Deed Reference: OR Vol. 652, Page 994 of the Pickaway County, Ohio
                                                                                records


   The foregoing real property is granted by the Grantor and accepted by the
                                                                              Grantee except for the
   following and subject to all of which this conveyance is made: legal highways
                                                                                 ; zoning ordinances;
   real estate taxes and assessments which are now or may hereafter become
                                                                           a lien on said premises;
   covenants, conditions, restrictions and easements of record; and
                                                                    all coal, oil, gas, and other mineral
   rights and interests previously transferred or reserved of record.
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    The Grantor herein has read this Deed and hereby acknowledges the voluntary signing
                                                                                        hereof.


    Executed on this        n           flaw nf
                                        day of     July                          ,2021




           /Al
   Joi     Orem Jr.                                               Seerina L Orem




   State of Ohioif^.    .   1   .
                                           )
   County of                               )

   Thetforegoing instrument was acknowledged before me this _L3.                  day of
                                    , 2021 by John E. Orem Jr. and Seerina L. Orem.



                                                                                         stamp
                                                                                               Jennifer L Swick
   Not;    Public                                                                                  Notary Public
                                                                                                   State of Ohio
                                                                  *.
                                                                                               My Commission Expires
                                                                                                   March 2 2024



   This instrument prepared by:                                  After recording, return to:
   Stephen A. McCoy, Esq.                                        Northwest Select Title Agency, LLC
   The Holfinger Stevenson Law Firm                              c/o Kate Wedemeyer
   1160 Dublin Road, Suite 500                                   5148 Blazer Parkway
   Columbus, OH 43215                                            Dublin, OH 43017

   File #14-4151
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  American Land Title Association
                                                                                                        ALTA Settlement Statement - Seller
                                                                                                                      Adopted 05-01-2015


  File No./Escrow No.: 14-4151                            Northwest Select Title Agency, LLC
  Print Date & Time: 07/16/21 9:11 AM                        ALTA Universal ID: 1100930
  Officer/Escrow Officer: Tiajha Kokich                    100 E. Wilson Bridge Rd, Ste 105
  Settlement Location:                                         Worthington, OH 43085
  Northwest Select Title
  5148 Blazer Parkway
  Dublin, OH 43017



 Property Address:                                     Lot 25, Village of Orient, Pickaway County, OH
                                                       7922 Third Street
                                                       Orient, OH 43146


 Borrower:                                             Linda Orem and John Orem Sr.



 Seller:                                              John E. Orem Jr. and Seerina L. Orem
                                                      7922 Third Street
                                                      Orient, OH 43146


 Lender:                                              Priority Mortgage Corp., ATTN: Final Document Department
                                                      150 East Wilson Bridge Road, Ste. 350, Worthington, OH, 43085
 Loan Number:                                         214336
 Settlement Date:                                     07/23/2021
 Disbursement Date:                                   07/23/2021
 Additional dates per state requirements:




 Financial
 Sale Price of Property
                                                                                                                             $109,500.00


 Prorations/ Adjustments
 County Property Tax from 01/01/2021 thru 07/23/2021
                                                                                                               $771.63
 Closing Cost Credit to Buyer
                                                                                                             $3,200.00

 Other Loan Charges
 Appraisal Fee
Credit Report Fee

 Flood Determination Fee
Processing Fee
Tax Service Fee



Title Charges & Escrow / Settlement Charges
Title - Abstract or Search to Northwest Select Title
                                                                                                               $250.00
Title - Commitment to Northwest Select Title
                                                                                                                $50.00
Title - Courier/Wire Fee to Northwest Select Title
                                                                                                                $35.00
Title - Secure Digital Document Storage to Northwest Select Title
                                                                                                                 $5.00
Title - Settlement or Closing Fee to Northwest Select Title                                                    $175.00
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 Title - Update and -Record to Northwest Select Title                                          $35.00
 Title - Legal Documents Prep to The Wolfinger Stevenson Law Firm                              $85.00
 Title - Owner's Title Insurance to Northwest Select Title                                    $727.38

 Commission

 Real Estate Commission - Listing to Coldwell Banker Realty                                 $1,000.00

 Government Recording and Transfer Charges
 Transfer Tax to Pickaway County Auditor                                                      $328.50

 Payoff(s)
 Lender:               Payoff of First Mortgage Loan to NewRez, LLC                        $86,041.25
                            Total ($85,964.53)
 Payee:                 Payoff 2nd Mortgage/HELOC to Key Bank                              $16,729.79
                            Total ($16,545.39)


 Miscellaneous

 Home Warranty




 Subtotals
                                                                                          $109,433.55       $109,500.00
 Due To Seller
                                                                                               $66.45
 Totals
                                                                                          $109,500.00       $109,500.00




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                                                                                                           File # 14-4151
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Acknowledgement
We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts
and disbursements made on my account or by me in this transaction and further certify that I have received a copy of the
ALTA Settlement Statement. We/I authorize Northwest Select Title Agency, LLC to cause the funds to be disbursed in
accordance with this statement.




                                                      7'12'2021
                                                      Date




 Sfeerina L. Orem




                                                                     Date




                        t




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                                                                                                                 File # 14-4151
All rights reserved.                                                Page 3 of 3                   Printed on: 07/16/21 9:11 AM
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  Closing Disclosure
 Closing Information                                                                Transaction Information
 Date Issued                                                                            Borrower    Linda Orem and John Orem Sr.
 Closing Date                  7/23/2021
 Disbursement Date             7/23/2021
 Settlement Agent              Northwest Select Title                                   Seller      John E. Orem Jr. and Seerina L. Orem
 File#                         14-4151                                                              7922 Third Street
 Property                      7922 Third Street                                                    Orient, OH 43146
                              Orient, OH 43146

 Sale Price                    $109,500.00


  Summaries of Transactions                                                             Contact Information
  SELLER'S TRANSACTION                                                                   REAL ESTATE BR6KER B)
  Due to Seller at. Closing                     •       •             §109,500.00   Name                       Coldwell Banker Realty
  01     Sale Price of Property                                       $109,500.00   Address                    4535 West Dublin Granville Road
  02     Sale Price of Any Personal Property Included in Sale                                                  Dublin, OH 43017
  03                                                                                OH License ID              OH2008002262
  04                                                                                Contact                    Michael Busch

  05                                                                                Contact OH License ID      OH2013002266
  06                                                                                Email                      michael.busch@kingthompson.com
  07
                                                                                    Phone                      614-889-0808
  08

  Adjustments for Items Paid by Seller in Advance
                                                                                        REALESTATEBROKERfS)                         J
  09       City Property Tax                                                        Name                      Coldwell Banker Realty

  10       County Property Tax                                                      Address                   4535 West Dublin Granville Road

  11                                                                                                          Dublin, OH 43017
           Assessments Tax
           School Tax
                                                                                    OH License ID             OH2008002262
  12
  13       HOA/Condo Dues                                                           Contact                   Michael Busch

  14       Other                                                                    Contact OH License ID     OH2013002266

  15                                                                                Email                     michael.busch@kingthompson.com
  16                                                                                Phone                     614-889-0808
  DueTrom Seller atClosing         - .                               ^§109,433.55       SETTLEMENT AGENT                /"'
  01     Excess Deposit
                                                                                    Name                      I Northwest Select Title
  02    Closing Costs Paid at Closing (J)                               $2,370.88   Address                   1 5148 Blazer Parkway
  03     Existing Loan(s) Assumed or Taken Subject to
                                                                                                              Dublin, OH 43017
  04     Payoff of First Mortgage Loan to NewRez, LLC                  $86,041.25   OH License ID             OH40560
  05
                                                                                    Contact                   Melissa Mamula
  06    Payoff 2nd Mortgage/HELOC                                      $16,729.79   Contact OH License ID     OH609948
  07    Closing Cost Credit to Buyer                                    $3,200.00   Email                     select-dublin@nwtitle.com
  08
                                                                                    Phone                     614 527-2600
  09

  10     Adjustment for Owner's Policy Paid by Seller                     $320.00
  11
  12
  13

  Adjustments for Items Unpaid by Seller                                                            Questions? If you have questions about the
  14       City Property Tax
                                                                                    a               loan terms or costs on this form, use the
  IS       County Property Tax           1/1/2021   thru 7/23/2021
                                                                                                    contact information above. To get more
                                                                         $771.63
  16       Assessments Tax                                                                          information or make a complaint, contact the
                                                                                                    Consumer Financial Protection Bureau at
  17       School Tax                                                                        ft
  18       HOA/Condo Dues                                                                           www.consumerfinance.gov/mortgage-closing
  19       Other

  CALCULATION
  Total Due to Seller at Closing
                                                                     $109’560’00
  Total Due from Seller at Closing
                                                                     -$109,433.55
  Cash        From ESTo Seller
                                                                          $66.45




CLOSING DISCLOSURE

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Closing Cost Details

 Loan Costs                                                                                 r;   AtClosing    ; T < J. - -   Before Closing. '   ..

 A. Origination Charges
 01 0% of Loan Amount (Points)                  to

 02   Application Fee                           to

 03 Underwriting Fee                            to

 B.ServicesBorrower Did Not Shop For
 01 Appraisal Fee                               to

 02   Credit Report Fee                         to

 03 Flood Determination Fee                     to
 04   Processing Fee                           Jo

 05   Tax Service Fee                           to

X. Services Borrower Did Shop For                                                                                $550.00
 01   Location Survey                           to   Hoy Land Surveying
 02 Title - ALTA 8.1 EPL (bundled ALTA9)        to   Northwest Select Title
 03 Title - ALTA 9 Comprehensive                to   Northwest Select Title
 04 Title - Abstract or Search                  to   Northwest Select Title                                  $250.00
 05 Title - Closing Protection Coverage -       to   WFG National Title Insurance Company
      Lender
 06 Title - Commitment                          to   Northwest Select Title                                   $50.00
 07 Title - Courier/Wire Fee                    to   Northwest Select Title                                   $35.00
 08 Title - Del ML Except - LP No Work          to   Northwest Select Title
 09 Title - Lender's Title Insurance            to   Northwest Select Title
 10 Title - Secure Digital Document Storage     to   Northwest Select Title                                    $5.00
 11 Title - Settlement or Closing Fee           to   Northwest Select Title                                  $175.00
 12 Title - Survey Cvg Simo OP & LP             to   Northwest Select Title
 13 Title - Update and Record                   to   Northwest Select Title                                   $35.00




CLOSING DISCLOSURE
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 Other Costs
E. Taxes arid Other Government Fees                                                                                    $328.50
 01    Recording Fees                       Deed:   $34.00                 Mortgage:      $178.00
                                                    to     Pickaway County Recorder
 02 Transfer Tax                                      to   Pickaway County Auditor                                 $328.50

F. Prepaids

 01 Homeowner's Insurance Premium (            mo.)        to

 02    Mortgage Insurance Premium (         mo.)           to

 03    Prepaid Interest (    per day from                  to   Priority Mortgage Corp.
       07/23/2021 to 08/01/2021)
 04    Property Taxes (     mo.)                           to                                             !
G. Initial Escrow Payment at Closing to Priority Mortgage Corp.

 01    Homeowner's Insurance                                          per month for                 mo.


 02    Mortgage Insurance                                             per month for                 mo.


 03    Property Taxes                                                 per month for                 mo.


 04    City Property Taxes                                             per month for                mo.


 05    County Property Taxes                                           per month for                mo.


 06    Assessment Taxes                                                per month for                mo.


 07    School Taxes                                                    per month for                mo.


 08    HOA/Condo Dues                                                  per month for                mo.


 09    Other Taxes                                                     per month for                mo.


  10    Aggregate Adjustment

• H. Other                                                                                                             $1,492.38
 01    CB Realty Fee                                  to   Coldwell Banker Realty

 02    Home Warranty                                  to

 03    Real Estate Commission - Listing               to    Coldwell Banker Realty                                $1,000.00

 04 Title - Legal Documents Prep                      to   The Holfinger Stevenson Law Firm                         $85.00

  05   Title - Owner's Title Insurance                to    Northwest Select Title                            I    $407.38
                                                                                                          i
                                                                                                                  $2,370.88




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 lerina L Orem




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                               O northwest select
                                                                   TITLE AGENCY

                                  HELOC PAYOFF CLOSEOUT INSTRUCTION


    TO:   Reimer Law


    RE:   Home Equity Line of Credit Account #8307787655
    Secured by the Property located at: 7922 Third Street,
                                                           Orient, OH 43146




   The undersigned Borrower under the above-referenced
                                                       Home Equity Line of Credit, hereby authorizes
   and instructs you to close and immediately termina
                                                      te the above referenced credit line account upon
   receipt of this notice.


   Said borrower agrees to pay any charges pending that
                                                           may not be reflected on the demand for payoff
   issued to the title agency and further agrees to cease
                                                          activity on this account including but not limited
   to the issuance of checks or by taking further advanc
                                                         es on this account.


   Upon receipt of funds representing payment in full, which
                                                             are either enclosed herewith, or sent via wire
   transmission, you are to forward the full satisfaction
                                                          of mortgage for the above-named borrower to the
   proper county authority to be released. The original
                                                          Note should also be sent to the borrower marked
                                                                                                          ,
   "Paid in Full".


   If the funds paid to you will not result in the immediate
                                                             payoff and closure of the loan account, with the
   full release or your mortgage lien, you are instruct
                                                       ed to contact the title agency immediately at the
   number in the footer of this authorization.




                                    7-/7^/
    /Jp4in E. Orem Jn    a                 Date              Seerina L. Orem                     Date      '




              ?




                                                  Branch Office:
                                   5148 Blazer Parkway • Dublin, OH 43017
                                  Phone:614-527-2600     •    Fax:614-527-2606
                                              www.nwtitle.com
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                        CLOSING AGREEMENT FOR THE SALE OF RESIDENTIAL REAL ESTATE


PROPERTY: 7922 Third Street, Orient, OH 43146
SELLER: John E. Orem Jr. and Seerina L. Orem
BUYER/BORROWER: Linda Orem and John Orem Sr.
LENDER: Priority Mortgage Corp.
TITLE AGENCY: Northwest Select Title                                                                       G.F. # 14-4151


By signing this statement, I acknowledge the following:


1.   Neither Title Agency nor any of its employees is acting as my Agent, Attorney, Representative or Fiduciary
     at this real estate closing. This is true even though funds may be held by Title Agency in an escrow
     account. Title Agency is serving as an Escrow/Settlement Agent, as well as a Title Insurance Agent (if
     applicable) to any proposed insured under the title insurance commitment in this transaction. Title
     Agency or any of its employees or contractors, may have identified certain documents to me as they were
     presented to me for signing, but they have not given me any legal advice as to the meaning or effect of the
     documents.   I understand that any statements made about the documents are not legal advice and that
     obtaining legal counsel in real estate transactions is recommended. By signing the closing documents, I
     consent to be bound by them and confirm that any and all of the terms in my real estate sale contract are
     included accurately therein. Notice of any and all claims related to Title Agency as an Escrow Agent and
     Settlement Agent must be presented to Title Agency within one year of the date of settlement. Any claim
     related to title is subject to the terms of the title insurance policy.

2.   As a necessary step in closing this transaction, The Holfinger Stevenson Law Firm, Ltd. (the "Law Firm")
     prepares certain documents for closing on behalf of Title Agency, the cost of which may be borne by one
     or more of the parties. I acknowledge that, unless I have entered into a representation agreement with
     the Law Firm, I am not a client of the Law Firm, and the Law Firm has not given me any legal advice
     regarding the meaning or effect of the documents. I expressly waive any actual or potential conflict of
     interest between Law Firm and myself, Title Agency, and any of the parties.

3.   Title Agency is authorized to deposit all funds it receives in this transaction in any financial institution, and is
     not a fiduciary for the parties, and therefore shall not be liable for interest on any escrowed funds and shall
     be under no duty to invest or reinvest funds held at any time. Costs, expenses, and interest from said funds
     shall be paid by or to Title Agency, as the case may be, or in accordance with the rules of this State in
     regards to Escrow and/or IOTA/IOLTA accounts. Further, FDIC insurance applies only to a cumulative
     maximum amount of $250,000 for each individual Depositor for all of Depositor's accounts at the same or
     related institution(s). Title Agency assumes no responsibility for, nor will Depositor(s) hold Title Agency
     liable for, any loss occurring which arises from the fact that the amount of any deposits made with Title
     Agency may cause the aggregate amount of any individual Depositor's accounts to exceed $250,000 and
     that the excess amount is not insured.

4.   Title Agency may charge for courier or delivery fees on the Settlement Statement. This fee includes
     services such as: hand-courier, U.S. Mail, UPS, or FedEx, but the actual delivery charges by these services
     may be greater than or less than the amount shown, and the balance of that fee will be paid to, or shortage
     will be paid by, Title Agency. Any such balance received is consideration for the creation of the package
     sent, for transmitting the package to the delivery service, and for tracking such package.

5.   There may be times when there are clerical errors or mistakes made by Lender or by Title Agency. I agree
     to fully cooperate and correct such errors on any or all closing documentation within three (3) days after
     being given notice, even if that means that documents need to be re-executed and notarized, or it results in
     a change in my closing costs.
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  6.   The mortgage payoff figures (if any) shown in the Settlement Statement, are subject to
                                                                                              review and revision
       after the closing by the Mortgagee or lienholder.       The undersigned agree that if funds in excess of the
       quoted payoff figure are required, the Mortgagor/Debtor will pay directly to Title
                                                                                           Agency, within three (3)
       days after being given notice, the amount required to payoff, cancel, and release
                                                                                         the lien.
  7.   I authorize Title Agency to release a copy of the Settlement Statement and Closing
                                                                                            Disclosure to people or
       entities such as the government, my accountant or attorney, or other title
                                                                                          agencies handling future
       transactions for the subject property, and other reasonably similar parties that
                                                                                         have a fiduciary or agency
       relationship with me. Further, I authorize Title Agency to act as my representa
                                                                                       tive for the limited purpose
       of completing, correcting, or signing any forms required by the County to
                                                                                 transfer and convey the property.

  8.   I acknowledge that I may be required to execute an affidavit, required
                                                                                  under the Foreign Investments in
       Real Property Tax Act of 1980 (26 USC Section 1445 et seq., commonly
                                                                                  known as "FIRPTA"), signed under
       penalty of perjury, containing my (or my company's, trust's, or estate's) United
                                                                                        States Social Security and/or
       taxpayer identification numbers and a declaration to the effect that I (or my
                                                                                        company, trust, or estate) is
       not a foreign person within the meaning of FIRPTA. Title Agency will not
                                                                                    provide a copy of the affidavit to
       Buyer. Instead, Title Agency will act as a Qualified Substitute pursuant to FIRPTA,
                                                                                           and will retain possession
       of the affidavit. If I should receive an inquiry from the IRS regarding this transactio
                                                                                               n, I agree to notify Title
       Agency immediately and provide Title Agency with a copy of any such IRS correspon
                                                                                              dence.
  9.   TAXES:


       I acknowledge that the real estate tax proration reflected on the Settlemen
                                                                                     t Statement is based on the
       most recent tax bill/certificate, as provided by the County, and as required
                                                                                    to be done by my Property's
       Purchase Contract.

       I confirm I have reviewed the property tax proration on the Settlement
                                                                                  Statement and agree it is what I
       contracted with Buyer for, and so I affirmatively indemnify and hold harmless
                                                                                          Title Agency, its agents,
       owners and employees, for any loss due to miscalculation arising from clerical
                                                                                      error, my failure to pay such
       taxes, any tax increase or decrease occasioned by millage or valuation changes,
                                                                                         retroactive re-evaluation,
       change in land usage, loss of CAUV reduction, or loss of homestead status.

 10. I acknowledge that there may be unpaid charges for water and/or sewer
                                                                             services furnished to my property
     and that no such allowance for such charges was made or taken into account
                                                                                  on the Settlement Statement.
     These charges may not now be a lien against the property, but, if not paid,
                                                                                 they could become a lien at a
       later date, or in lieu thereof, the service provider may terminate service
                                                                                  if such charges are not paid. I
       accept responsibility for the payment of all outstanding water and sewer
                                                                                   charges currently unpaid and I
       indemnify and hold Buyer and Title Agency harmless from any loss or damage
                                                                                       resulting from my failure to
       pay water and sewer charges current through the date of closing.

 11.1 confirm that I did not require Buyer to provide any earnest money in
                                                                           this transaction.
 12. This is the complete agreement between the parties, and can only
                                                                      be modified by signed writing.                The
     UNDERSIGNED HAVE READ THIS AGREEMENT and agree to all the terms and
                                                                          conditions herein.




JohtnE Orem Jr.                       ~


Seorina L. Orem

Phone: (740) 604-9231
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Email: ericorem31@gmail.com

FWD Address:        C&nkrburtJ
  London ,
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                               Homeowner's/Condo Association Disclosure and Agreement

 File it           14-4151
 Seller:           John E. Orem Jr. and Seerina L Orem
 Property:         7922 Third Street, Orient, OH 43146




 Seller, whether one or more than one person, has disclosed
                                                            that there (initial one):

               X             IS NOT an active Homeowner's/Condo Association at the above
                                                                                         mentioned property
                             address.

                             IS an active Homeowner's/Condo Association at the above mentioned property
                                                                                                        address.
                             The name of the Association that I paid dues to is:




                             The contact information for the Management/Treasurer of Associati
                                                                                               on is:



                             The dues are $                         per


         Seller will hold Northwest Select Title harmless from any outstand
                                                                               ing debts, dues and liens that may be
filed of record and will pay any and all dues, late fees, penalties,
                                                                     legal fees associated to the Association up to
and including the date of closing.

        Buyer will also hold Northwest Select Title, harmless and agrees to be
                                                                                responsible for any dues, late
fees, penalties, and/or legal fees associated with the Association
                                                                   from the day of purchase if such Association
should provide them with an invoice and/or information in regards to
                                                                       a "mandatory" fee associated with the
Association.


        The undersigned acknowledges that the dues associated with the homeow
                                                                                     ner's or condo association, if
any, are prorated on the HUD-l/CDF/Settlement Statement in accordan
                                                                         ce with the parties' purchase contract.
The parties further acknowledge that all association assessments
                                                                   or past due fees, if any, must be paid by Seller,
and either have been paid current or will be paid current as indicated
                                                                       on the HUD-l/CDF/Settlement Statement.
The parties indemnify and hold Northwest Select Title harmless
                                                               from any claims, actions, penalties or the like
concerning these types of assessments and dues. Seller hereby certifies
                                                                         that any and all dues, if any have been
paid current through closing, and indemnifies Northwest Select Title
                                                                     and Buyer for any resulting loss.


       //bit                                                         -n Qi
Joi   E. Orem Jr.                         Date           Seerina L. Orem
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t i WFG National Title Insurance Company
            a Williston Financial Group Company




                        NOTICE OF AVAILABILITY AND OFFER OF CLOSING PROTECTION COVERAG
                                                                                       E

     @ Seller: -                          John E. Orem Jr. and Seerina L. Orem
           Buyer/Borrower:                Linda Orem and John Orem Sr.
           Lender:                        Priority Mortgage Corp.


   RE:          Title Ins. Agent:                   Northwest Select Title Agency, LLC
      Settlement Agent:                   Northwest Select Title
      Property Address:                   7922 Third Street, Orient, OH 43146
      File#:                              14-4151


                                  NOTICE OF AVAILABILITY OF CLOSING PROTECTION COVERAGE


      Pursuant to Ohio Revised Code Section 3953.32, you are hereby notified
                                                                                  of the availability of Closing
   Protection Coverage from WFG National Title Insurance Company in connectio
                                                                                  n with the above-referenced
   transaction for the premium stated in the Offer of Closing Protection Coverage
                                                                                  outlined below.

       Closing or settlement of a real estate and/or mortgage loan transaction
                                                                               can be characterized as having
   two components.       One component pertains to the title to the Premises and the title
                                                                                              insurance policy
   therefore. The other component pertains to the handling of funds and
                                                                          documents by the Licensed Agent. A
   title insurance policy does not cover losses due to the mishandling of
                                                                          funds or documents by the Licensed
   Agent. However, Closing Protection Coverage, as outlined below, does
                                                                          provide such protection.

   Description of Coverage:              The Closing Protection Coverage indemnifies you against the loss
                                                                                                          of settlement
   funds resulting from any of the following acts of the Licensed Agent or
                                                                           anyone acting on behalf of the
   Licensed Agent, subject to certain conditions and exclusions specified
                                                                          in the Closing Protection Coverage
   Form:


            (1) Theft, misappropriation, fraud, or any other failure to properly handle and disburse your funds
                 or documents in connection with such closing; and
            (2) Failure to comply with any applicable written closing instructions, when agreed to by the
                  Licensed Agent.


          You are covered by a Closing Protection Coverage Form only if it is specificall
                                                                                          y addressed to you. A
  copy of the Closing Protection Coverage Form is available upon request.
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                                    OFFER OF CLOSING PROTECTION COVERAGE


       Pursuant to Ohio Revised Code Section 3953.32, you are hereby offered Closing Protection
                                                                                                   Coverage
    from WFG National Title Insurance Company in connection with the above-referenced
                                                                                      transaction.


    Premium Cost:      The premium cost for the Closing Protection Coverage is $40.00 for Lender; $55.00 for
    Seller; $20.00 for Buyer/Borrower; and $20.00 for any other applicant for title insurance,
                                                                                               and in no case
    shall the premium cost be less than $40.00 for this coverage in any transaction.


    Acceptance of Offer/Declination of Offer


      I (We), the undersigned, acknowledge receipt of this Offer of Closing Protection Coverage
                                                                                                and:
                           DO accept the said Offer
                             DO NOT accept the said Offer


             If this Offer is accepted, the undersigned hereby agrees to pay the applicable premium.




                                                            AM                             7-17'7024
                                    1 Date          JowBrejnSr.                              Date
Jccrm Orent.                                                Orem Jr •

A lender's closing instructions requiring Closing Protection Coverage is deemed to be its
                                                                                           acknowledgment of
receipt of the Notice of Availability of Closing Protection Coverage and its acceptance
                                                                                        of the Offer of Closing
Protection
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                                              SELLER'S AFFIDAVIT
                                                 File #14-4151


           The undersigned Seller, whether one or more than one, being first duly sworn,
                                                                                         jointly and
   severally, if more than one, deposes and makes the following statements for the express purpose
                                                                                                   of
   inducing Linda Orem and John Orem Sr., Buyer, whether one or more than
                                                                          one, to Purchase the
   following described property ("the Premises"), and, if applicable, to induce any mortgagee
                                                                                                to pay
   proceeds to Seller and for Northwest Select Title Agency, LLC to issue any title insurance
                                                                                              policy on
   behalf of any of its underwriters:


                                           See Attached "Exhibit A"


           1. All taxes, assessments or other charges now a lien against the Premises are shown
                                                                                                   on the
   Treasurer's Duplicate, and no improvements (site or area) have been installed by public
                                                                                            authority, the
   costs of which may be assessed against the Premises. Seller has not been notified within
                                                                                             the period of
   two years immediately preceding the date hereof of contemplated improvements (site
                                                                                          or area) to the
   Premises by public authority, the costs of which are to be assessed against the Premises in the
                                                                                                   future,
   nor has Seller had any notice of condemnation or other exercise of the power of eminent
                                                                                           domain.


           2. No unpaid-for improvements have been made or materials, machinery or fuel delivered
                                                                                                        to or
  labor performed on the premises within seventy-five (75) days (or, in the case of a one-
                                                                                               or two-family
  home or a residential condominium unit, sixty (60) days) immediately preceding the date
                                                                                               hereof which
  might      form   the     basis   of   a     mechanic's     lien   against     the     Premises,    except
                                           (none, if nothing inserted), nor has Seller received a copy of an
  Affidavit of Mechanic's Lien which may be filed against the Premises.


           3. Seller has no knowledge of any encumbrances on the title to the Premises other than those
  set forth in the evidence of title provided to Buyer, nor does Seller have any knowledge of
                                                                                              off-record or
  undisclosed legal or equitable interests in the Premises or claimed by any other person
                                                                                                  or entity,
  including past due water and sewer charges, except the rights of tenants, if any, which
                                                                                           have been fully
  disclosed to Buyer and to any title insurance company issuing title insurance in reliance
                                                                                            hereon. Seller
  further represents that all bills for water and sewer charges issued prior to the date
                                                                                         hereof for water
  and sewer services to the Premises have been fully paid.


          4. To Seller's best knowledge and belief the improvements on the Premises are located
                                                                                                        within
  the boundary lines of the Premises, all utility service lines serving the premises are located
                                                                                                 either within
  the boundary lines of the Premises or within lands dedicated to public use or within
                                                                                                     recorded
  easements for the same, there are no boundary line disputes, and Seller has complied
                                                                                                      with all
  applicable environmental protection regulations. Seller further represents that the Premises
                                                                                                    has actual
  pedestrian and vehicular access based on a legal right of access to the land.


         5. With respect to the improvements located on the Premises, Seller has no knowledge
                                                                                                    of
  hidden structural defects or uncomplied with orders or notices of civil authority
                                                                                    concerning health,
  building or -fire code violations, and to the extent that Seller has made any structural or
                                                                                              non-structural
  alteration or modifications to the improvements located on the Premises, Seller has
                                                                                                 to Seller's
  knowledge obtained all necessary building permits and variances for the same.
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              6. Seller is not now under any legal disability which would
                                                                             impede or void any of Seller's
     contractual obligations, nor is Seller a debtor in any proceed
                                                                     ing under the bankruptcy laws of the
     United States, nor has any intention to file for bankrup
                                                                  tcy within 180 days of this real estate
     transaction. All former spouses of Seller, if any, are
                                                            deceased and/or all prior marriages, if any, have
     been legally terminated.    If Seller is a partnership or corporation, its officials
                                                                                          consummating this
     transaction are properly authorized to do so, and the
                                                            partnership or corporation, as well as its officials
     and the undersigned, shall be bound by this Affidavit.


             7. Seller is not a foreign person, foreign corporation, foreign
                                                                             partnership, foreign trust or foreign
     estate as those terms are defined in the Internal Revenue
                                                                  Code and Income Tax Regulations.


              8. Seller represents that the subdivision in which the
                                                                          Premises is located does not have a
     homeowners' association, or if there is an association,
                                                                 assessments against the Premises have been
     paid in full through the date of closing or are appropriately
                                                                   credited on the closing statement.


              9. Neither the Seller, nor any member of the Seller's
                                                                         family who has, or previously had, an
     interest in the subject premises, is or has been the recipien
                                                                   t of Medicaid.

                   1


            l/i/u Cig-                    ~~~
      Joi     Orem Jr.
                                                                    Seerina L. Orem


     State of _
     County of
                                                  )     ss.




                                          ’ _1—               ,
            itrument was sworn to and subscribed in my presence on
                                                                   this     J /7 day of
                                .,        by John E. Orem Jr. and Seerina L. Orem.




                                                                  NOTARY PUBLIC
                             Jennifer L. Swick
 £                               Notary Public
                                                                  Commission Expiration:
 -*                    *=         state of Ohio
 z                       c   My Commission Expires
                                 March 2 2024




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                                                 EXHIBIT "A"


     Situated in the County of Pickaway, Village of Orient and State of Ohio:


     Being a tract of land off of the North side of Lot No. Twenty-Five (25) in the Village of Morgan (now
     called Orient). Said tract of land fronting fifty (50) feet on Main Street and running back to a public
     alley two hundred and sixty-four (264) feet.




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             CERTIFICATE OF UNDERSTANDING AND INDEMNITY AND
                                                            HOLD HARMLESS
                        AGREEMENT DUE TO THE COVID-19 EMERGENCY - SALE
                                                        File #14-4151

   Property: 7922 Third Street, Orient, OH 43146
   Date of Closing: July 23, 2021
   Seller(s): John E. Orem Jr. and Seerina L Orem
   Buyer(s): Linda Orem and John Orem Sr.

    In response to the outbreak of the Coronavirus and the declared states
                                                                            of national and local emergency, a number
   of government offices have been closed or have had their access significant
                                                                                ly limited. As a result, the processing
   and recording of deeds and other title documents in some jurisdictions
                                                                            has been, and will be, impacted. Although
   WFG National Title Insurance Company is willing to continue to insure
                                                                          titles for purchasers and lenders under its
   current policy forms through the ultimate recording date of the deed, mortgage,
                                                                                       deed of trust or other insured
   title document, neither WFG National Title Insurance Company nor its title
                                                                                agents can provide any estimate as to
   the date of recordation of such title documents in the land records.

   NOW THEREFORE, as a result of the aforementioned closures and access
                                                                               restrictions and as an inducement to
   Northwest Select Title Agency, LLC (hereafter "Title Agent") to conduct
                                                                             settlement and to WFG National Title
   Insurance Company to issue it policy or policies of title insurance, the undersigne
                                                                                        d agree as follows:

   Seller(s) affirm:
      (a)     There are no unrecorded deeds and/or outstanding leases, contracts, options,
                                                                                           agreements, trusts or
   inchoate rights or interests affecting the Property which have not been
                                                                           disclosed WFG National Title Insurance
  Company or Title Agent in writing.
      (b)  All labor and materials used in construction of improvements, repairs, or
                                                                                      modifications to the Property
  have been completed and there are now no unpaid bills for labor or
                                                                       material against the improvements or
  Property. The Sellers have received no notice of any mechanic's lien claim.
      (c)  There are no unrecorded liens or encumbrances affecting the title to
                                                                                 the Property, that are not being paid
  or adjusted as part of the current transaction.
     (d)   Sellers have received no written notice of a proposed or pending special
                                                                                     assessment or a pending taking of
  any portion of the Property by any governmental body; Sellers have
                                                                       no knowledge that work has been or will be
  performed by any governmental body including, but not limited to,
                                                                      the installation of water or sewer lines or of
  other utilities, or for improvements such as paving or repaving of
                                                                     streets or alleys, or the installation of curbs and
  sidewalks.
      (e)   Sellers agree to neither allow, nor take any action, following settlement
                                                                                        that may result in a lien,
  encumbrance or other matter adversely affecting title being placed against
                                                                                 the title to the Property. In the event
  any lien, encumbrance or objectionable matter of title arises or occurs between
                                                                                      the date of settlement and the
  date of the recording of the deed or other title document, Sellers agree
                                                                             to immediately take action to clear and
  discharge the same and further agree to hold harmless and indemnify Title
                                                                                 Agent and WFG National Title Insurance
  Company against all expenses, costs and attorneys' fees that may arise
                                                                         out of Sellers failure to so remove, bond or
  otherwise dispose of any such liens, encumbrances or adverse matters
                                                                         of title to the satisfaction of WFG National
  Title Insurance Company.

  The undersigned affirm(s) upon personal knowledge that the statement
                                                                          s set forth herein are true and that this
  Certification is executed in order to induce Title Agent to make and complete
                                                                                 settlement on the Property and to
  induce WFG National Title Insurance Company to issue its policy or policies
                                                                              of title insurance, insuring title to the
  Property.


  EXECUTED by the undersigned on the date set forth beside his/her/their
                                                                         signature(s).

  Sellers:
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    C^ /tXx
   Jonn E. Orem Jr.     L/
                                                                 (^XA-VVk,
                                                S^erina L Orem
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                                                 SELLER'S F.i.R.P.T.A. CERTIFICATION
        (NOTE: IfSeller refuses to execute this Certification, then
                                                                    you must contact internal Title Counsel for instructions.)

             This form is provided so that the buyer and/or seller in this
                                                                           transaction can certify compliance with the Foreign
   Investment In Real Property Tax Act of 1980, Internal Revenue
                                                                 Code Section 1445.

   1)    Section 1445 of the Internal Revenue Code provides
                                                            that a transferee of a United States real property interest
         withhold tax if the transferor is a foreign person.                                                            must


   2)    In order to inform the Transferee that withholding tax
                                                                is not required
                                                                          upon the disposition by the Transferor, John E.
         Orem Jr. and Seerina L Orem, of the real property commo
                                                                nly known as 7922 Third Street, Orient, OH 43146, the
         Transfe  ror certifies the statements herein.

  3)     Certification of Non-Foreign Status
        The Act provides that a Buyer/Transferee of U.S. Real
                                                              Property must withhold tax if the Seller/Transferor is a
        person.                                                                                                        foreign
                  To inform the buyer and escrow agent that withhold
                                                                     ing of tax is not required upon my disposition of      this real
        property interest herein, I, the undersigned Seller(s), or
                                                                   duly authorized officer(s) of the Seller(s) hereby certify
        following:                                                                                                            the

        a)    l/We am/are not a "Foreign Person" as defined in the Internal
                                                                            Revenue Code and Income Tax Regulations, for the
             purposes of United States Income Taxation; and
        b)   The Transferor's U.S. Taxpayer Identification Number
                                                                  (TIN/SSN) is/are:

                       Seller 1: John E. Orem Jr.
                                                                                          TIN:
                       Seller 2: Seerina L. Orem
                                                                                          TIN: 300-^-

        c)   There are no other persons who have an ownership
                                                              interest in the above described property other than
                                                                                                                  those
             persons set forth above in subparagraph b.
        d)   The Transferor's forwarding address is:

 4)     The undersigned hereby further certifies and declares
                                                              :
        a)   I (we) understand that the purchaser of the above
                                                               described property intends to rely on the foregoin
                                                                                                                 g
             representations in connection with the United States
                                                                  Foreign Investment in Real Property Tax Act. (94 Stat.
                                                                                                                         2682
             as amended)
        b)   I understand that this certification may be disclosed to
                                                                      the IRS by the Buyer and that any false statement I have
             made herein could be punishable by fine, imprisonment,
                                                                        or both.
        c)   Under penalty of perjury I declare that I have examine
                                                                    d this certification and to the best of my knowledge
                                                                                                                         and
             belief it is true, correct and complete.



 JoJ/n E. Orem Jr.
                                                                    ^eerina L. Orem



  State of Ohio)
  County of
                                             )            ss.


  This instrument was sworn to and subscribed in my
                                                    presence on this                    day of
  20         , by John E. Orem Jr. and Seerina L. Orem.




                                                                     NOT PUBLIC
                                      Jennifer L. Swick              Com i   issjon Expiration:

                                          Notary Public
                                          State of Ohio
                                c    My Commission Expires
                                          March 2 2024




FIRPTA Certification
                                                                                                                        File #14-4151
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                      !                     CERTIFICATION FOR NO INFORMATION REPOR
                                                                                   TING
                                         ON THE SAT.E OR EXCHANGE. OF A PRINCI
                                                                               PAL RESIDENCE
  This form may be completed by the Seller of a principa
                                                         l residence. This information is necessary to determine
  exchange should be reported to the Seller                                                                      whether the sale of
                                                and to the Internal Revenue Service on Form 1099-S, Proceeds
  Transactions. If the Seller properly completes Parts I and III,                                                     From Real Estate
                                                                   and makes a “true’’ response to assurances (1) through (6) in
  (or a “not applicable"’ response to assurance (6)), no informat                                                                 Part II
                                                                  ion reporting to the Seller or to the Service will be required
  Seller. The term “Seller ’ includes each owner of the residence                                                                for that
                                                                    that is sold or exchanged. Thus, if a residence has more than
  owner, a real estate reporting person   must either obtain a certification from each owner (whether
                                                                                                                                     one
  information return and furnish a payee statement for any                                             married or not) or file an
                                                           owner that does not make the certification.
  Part I. Seller Information

  1 . Name:      John E. Orem Jr. and Seerina L. Orem

  2. Address of residence being sold or exchanged:              7922 Third Street, Orient, OH 43146
  3. Taxpayer Identification Number (TIN or SSN):
                                                                                                  and
 4. Forwarding Address of Seller:


 Part II. Seller Assurances: Check True or False for assuranc
                                                              es (1) through (5), and True, False, or N/A for assurance
           'Ise                                                                                                         (6).
                          (1) I owned and used the residence as my principal residence
                                                                                       for periods aggregating 2 years or more during the
                          5-year period ending on the date of the sale or exchange
                                                                                   of the residence.

                          (2) I have not sold or exchanged another principal residence
                                                                                       during the 2-year period ending on the date of the
                          sale or exchange of the residence.

                          (3)    I (or my spouse or former
                                                         spouse, if I was married at any time during the period beginnin
                          1997, and ending today) have not used any portion of                                            g after May 6,
                                                                               the residence for business or rental purposes after May
                          1997.                                                                                                        6,


<                     (4) At least one of the following three statements applies:
                         (1) The sale or exchange is of the entire residence for $250,000
                                                                                           .00 or less.
                         OR - (2) I am married, the sale or exchange is of the entire
                                                                                      residence for $500,000.00 or less, and the gain on
                          the sale or exchange of the entire residence is $250,000.00
                                                                                      or less.
                         OR - (3) I am married, the sale or exchange is of the entire
                                                                                       residence for $500,000.00 or less, and (a) I intend
                         to file a joint return for the year of the sale/exchange, (b)
                                                                                          my spouse also used the residence as his/her
                         principal residence for periods aggregating 2 years or more
                                                                                        during the 5-yr period ending on the date of the
                         sale or exchange of the residence, and (c) my spouse also
                                                                                           has not sold or exchanged another principal
                         residence during the        2 -yr period ending on the date of the sale or exchange
                                                                                                             of the residence (not taking into
                                account any sale or exchange before 5/7/ 1 997).

                      (5) During the 5 -year period ending on the date of the sale
                                                                                   or exchange of the residence, I did not acquire the
                      residence in an exchange to which section 1031 of the Internal
                                                                                     Revenue Code applied.
                      (6) If my basis in the residence is determined by reference
                                                                                  to the basis in the hands of a person who acquired the
                          residence in an exchange to which       section 1031 of the Internal Revenue Code applied, the
                                section 1031 applied occurred more than 5 years prior to                                    exchange to which
                                                                                         the date I sold or exchanged the residence.
Part III. Seller Certification: Under penalties of perjury,
                                                            I certify that all the above information is true as of the end
the sale or exchange, on the dates set forth below.                                                                        of the day of




             [/Ut C
     -V
    Johl    L Orem Jr.                                   Date            ^^mna^u'orem



1099S Certification of No Reporting
                                                                                                                                 File #14-4151
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                                    DISBURSEMENT METHOD AGREEMENT

             ATTENTION SELLER (FOR RESIDENTIAL TRANSACTIONS ONLY):
     Ifyou plan to apply your sale proceeds to a purchase of real estate in Ohio, we will
                                                                                          need to
      wire the funds to the settlement agent for your purchase in order to comply to state
                                                                                           law.

   PROPERTY: 7922 Third Street, Orient OH 43146
   File # 14-4151


   Your transaction proceeds or other disbursement from the above-referenced file
                                                                                  will be available on the following
   date:                                 . Please let us know how you would like your funds disbursed to you.


                    I acknowledge receipt of my proceeds CHECK in person. I understand that Positive
                                                                                                     Pay is being
                    used to guard against fraud, and so my check may not be honored for payment
                                                                                                for up to 3 hours.

                    I prefer to have the proceeds CHECK sent to my:
                                         Res i d e n ce :
                                         Work:
                    And send it:                      ordinary mail;                FedEx ($15.00 fee)

                    I prefer to pickup a CHECK at the front desk of our
                    branch office on the funding date or any day thereafter.  I understand that I may need to prove
                    my identity when picking up in person. I should not send someone else to pick up the
                                                                                                         check.

                    I authorize you to give my proceeds CHECK to this person:
                    so that they may deliver to me/us.


                    I direct Northwest Select Title to WIRE our proceeds to the following bank
                                                                                               account, and
                    indemnify them for any issues I may encounter if the actual ownership of the
                                                                                                        bank account
                    identified below doesn't match the ownership of the real property in this transaction:


                    Bank Name:
                    ABA Routing #

                    Name(s) on Account:
                    Account #

                    Further Credit To:

                    Name:                                              Account #:




    (Ai/u
   JoJh/e. Orem Jr.             ?
                                              7-n-2C2[
                                                    Date               S^^rTa^Corern                     n/n/a.i
